            Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 1 of 88



                                                                                      FILED
                                                                                U.S. DISTRICT COURT
                        IN THE UNITED STATES DISTRICT COURT                 EASTERN DISTRICT ARKANSAS

                       FOR THE EASTERN DISTRICT OF ARKANSAS                           A      20        19
                                 WESTERN DIVISION
                                                          JAMES                                                     RK
                                                                         By:_--b"41+-rf--L..:::_..,:;~,.,..,.,.........
THE CINCINNATI SPECIALTY UNDERWRITERS
INSURANCE COMPANY

V.                                 NO.   lj: It/a v'5?6-/~,Jlq)
                                                                                                                '
CLINTON WILLIAM HOLLAND
REVOCABLE TRUST UAD                                      This case assigned to Dislri~~               4.~L-
AUGUST 9, 2010; CLINTON WILLIAM                          and to Magistrate Judge         ~4 ~
HOLLAND, INDIVIDUALLY AND AS
TRUSTEE OF CLINTON WILLIAM
HOLLAND REVOCABLE TRUST
UAD AUGUST 9, 2010; ALLISON HOLLAND;
AND KALOB FRANKE                                                                    DEFENDANTS

                     COMPLAINT FOR DECLARATORY JUDGMENT

       COMES NOW Plaintiff, the Cincinnati Specialty Underwriters Insurance Company

(hereinafter "Cincinnati"), by and through its attorneys, Barber Law Firm PLLC, and for its

Complaint for Declaratory Judgment, states:

       1.       This is a Complaint for Declaratory Judgment brought pursuant to Ark. Code

Ann. § 16-111-101, in which Cincinnati seeks a declaration from this Court of its contractual

obligations regarding an insurance contract between Cincinnati and Defendant Clinton William

Holland Revocable Trust UAD.

       2.       This action will resolve a dispute as to whether Cincinnati must provide a defense

or indemnity to Clinton William Holland Revocable Trust UAD in an underlying suit brought by

Kalob Franke. In the underlying matter, Franke alleges negligence, including failure to warn,

negligent hiring, negligent retention, and negligent supervision/training. A copy of the complaint
             Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 2 of 88




filed in Franke v. Clinton William Holland Revocable Trust UAD August 9, 2010, et al., Circuit

Court of Pope County, Arkansas, Civil Division, 58CV-19-75 ("the underlying matter") is

attached as Exhibit A.

                           PARTIES, JURISDICTION, AND VENUE

        3.       Cincinnati is an Ohio insurance company authorized to do business in Arkansas

and with its principal place of business in Fairfield, Ohio.

        4.       Separate Defendant Clinton William Holland Revocable Trust UAD August 9,

2010 is a trust created pursuant to Arkansas law. The trustee is Clinton William Holland, a

resident of Johnson County, Arkansas. The Trust is the owner of real property located in Johnson

County, Arkansas, more specifically, an event venue called "Meetin on 64" located on Highway

64, Clarksville, Arkansas 72830.

        5.       Separate Defendant Clinton William Holland is a resident of Johnson County,

Arkansas, and the settlor, beneficiary, and trustee of the Clinton William Holland Revocable

Trust UAD August 9, 2010. As such, the Trust is not a separate legal entity, simply an alter ego

of Clinton William Holland.

        6.       Separate Defendant Allison Holland is a resident of Johnson County, Arkansas.

        7.       Separate Defendant Kalob Franke is a resident of Pope County, Arkansas.

        8.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 because there is

complete diversity of citizenship among the parties and the amount in controversy exceeds the

$75,000 jurisdictional limit for diversity jurisdiction.

        9.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

                                         GENERAL FACTS



                                                    2
         Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 3 of 88




       10.     Though this Plaintiff does not admit or concede these claims or allegations, the

following statements are facts as alleged in the underlying matter (Exhibit A):



               6.     Kalob Franke was an invitee, attendee and patron of
                      "Meetin on 64," an event venue in Clarksville, Arkansas,
                      during an event held on October 20, 2018, the evening of
                      Arkansas Tech University's homecoming football game.
                      Hundreds of people, including Franke, attended this event.

               7.     While attending the event at this location, one or more
                      guns discharged randomly into the crowd. Franke was shot
                      twice.




               12.    On the morning of October 21, 2018, at approximately
                      12:54 a.m., in the middle of the ongoing event, gunshots
                      were fired inside the venue. It is unknown who fired the
                      shots. It is unknown whether the shots were fired
                      intentionally or accidentally. It is unknown how or why the
                      shots were fired. No one has been arrested or charged with
                      anything in connection with the discharge of a weapon at
                      this event. What is known is that Kalob Franke and at least
                      one other patron, attendee and invitee at the event were
                      shot.

               13.    Kalob Franke has no idea who fired the shots or why they
                      were fired. He was dancing to music at the time the shots
                      were fired, and the next thing he remembers is feeling the
                      pain of the gunshots as he was lying on the floor. He was
                      transported by ambulance to a local hospital and airlifted to
                      St. Vincent Hospital in Little Rock. Kalob Franke is now
                      paralyzed from the waist down as a result of one of the
                      gunshots.

               14.    Upon information and belief, whoever and however the
                      weapon(s) was discharged, the injury to Kalob Franke was
                      not intentional.




                                                 3
         Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 4 of 88




       11.     Cincinnati issued Commercial General Liability Policy, Number CSU0108088, to

Clinton W. Holland Revocable Trust UAD for the policy period of December 13, 2017, through

December 13, 2018. The Policy, declaration pages, and endorsements are attached hereto and

made a part hereof as Exhibit B.

       12.     The insuring agreement in the policy (Policy, Exhibit B) states:

               1.      Insuring Agreement

                    a. We will pay those sums that the insured becomes legally
                       obligated to pay as damages because of 'bodily injury' or
                       'property damage' to which this insurance applies. We will
                       have the right and duty to defend the insured against any
                       'suit' seeking those damages. However, we will have no
                       duty to defend the insured against any 'suit' seeking
                       damages for 'bodily injury' or 'property damage' to which
                       this insurance does not apply. We may, at our discretion,
                       investigate any 'occurrence' and settle any claim or 'suit'
                       that may result.




                    b. This insurance applies to "bodily injury" and "property
                       damage" only if:

                           (1) The 'bodily injury' or 'property damage' is caused by
                              an 'occurrence' that takes place in the 'coverage
                              territory';
                           (2) The "bodily injury" or "property damage" occurs during
                               the policy period; and
                           (3) Prior to the policy period, no insured listed under
                               Paragraph 1. of Section II - Who is an Insured and no
                               "employee" authorized by you to give or receive notice
                               of an "occurrence" or claim, knew that the "bodily
                               injury" or "property damage" had occurred, in whole or
                               in part. If such a listed insured or authorized "employee"
                               knew, prior to the policy period, that the "bodily injury"
                               or "property damage" occurred, then any continuation,
                               change or resumption of such "bodily injury" or
                               "property damage" during or after the policy period will


                                                  4
            Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 5 of 88




                               be deemed to have been known prior to the policy
                               period.



       12.      Within the policy, there are a number of exclusions.          The policy included

exclusionary endorsement CSGA 301 03 16 EXCLUSION - ASSAULT OR BATTERY, which

provides:

                A.     The following exclusion is added to Paragraph 2.,
                       Exclusions of Section I - Coverage A - Bodily Injury And
                       Property Damage Liability and Paragraph 2., Exclusions of
                       Section I - Coverage B - Personal And Advertising Injury
                       Liability:

                        Assault Or Battery

                This insurance does not apply to 'bodily injury', 'property damage'
                or 'personal and advertising injury' arising out of:

                1.      An actual or threatened assault or battery whether caused
                        by or at the instigation or direction of any insured, their
                        employees, patrons or any other person;

                2.      The failure of any insured or anyone else for whom any
                        insured is legally responsive to prevent or suppress assault
                        or battery; or

                3.      The failure to provide an environment safe from assault or
                        battery, including but not limited to the failure to provide
                        adequate security, or failure to warn of the dangers of the
                        environment that could contribute to assault or battery; or

                4.      The failure to render or secure medical treatment or care
                        necessitated by any assault or battery; or

                5.      The negligent investigation or reporting or failure to report
                        any assault or battery to proper authorities; or

                6.      The negligent:

                     a. Employment;


                                                  5
        Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 6 of 88




                    b. Supervision;
                    c. Training;
                    d. Retention;

                       of a person for whom any insured is or ever was legally
                       responsible and whose conduct would be excluded by the
                       Assault Or Battery exclusion above.

               B.      For the purpose of this endorsement the words assault and
                       battery are intended to exclude, but are not limited to,
                       sexual assault.

              C.       Exclusion 2.a. of the Commercial General Liability
                       Coverage Form is deleted in its entirety and replaced by the
                       following:

                       2.     a.      Expected Or Intended Injury

                       'Bodily injury' or 'property damage' expected or intended
                       from the standpoint of the insured.


       13.    Consistent with Arkansas law, assault is generally defined as the intentional

causing of apprehension or fear that a harmful contact is about to be initiated. Battery is the

intentional making of that harmful contact.

       14.    That Commercial General Liability Policy No. CSU0108088 does not apply to any

damages arising out of the shooting incident on October 21, 2018, because the injuries sustained

by Separate Defendant Kalob Franke were the result of assault or battery.

       15.    That Cincinnati has no obligation to defend or indemnify Clinton W. Holland

Revocable Trust UAD, Clinton W. Holland, or any other person for any losses or damages

arising from the shooting incident on October 21, 2018.

       16.    Application of the foregoing policy definitions and exclusions as stated in the

Policy (Exhibit B) provide that no policy benefits are owed under the Cincinnati insurance policy



                                                6
         Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 7 of 88




for the allegations set forth in the underlying matter. See Exhibit A.

       17.       For each of the reasons set forth above, Cincinnati seeks a determination that

there is no coverage for any of the Defendants by reason of the policy language described in this

Complaint and that Defendants are not entitled to a defense or indemnity for any of the

allegations contained in the underlying matter See Exhibit A.            Consequently, if the named

insured, Clinton W. Holland Revocable Trust UAD, is not entitled to policy benefits, neither is

the Plaintiff in the underlying matter, who is also a Defendant in the matter at hand.

       18.       Cincinnati reserves the right to amend this Complaint and reserves the right to

rely on each and every provision, whether or not specifically identified in its Complaint, of the

Cincinnati policy attached as Exhibit B.

        19.      Plaintiff demands the right to a jury trial.

       WHEREFORE, Plaintiff, The Cincinnati Specialty Underwriters Insurance Company,

prays that this Court enter a judgment declaring:

       a. The above referenced policy and endorsements attached as Exhibit B provide no

              policy benefits for the claims against Clinton W. Holland Revocable Trust UAD or

              Clinton W. Holland, Individually and as Trustee, arising out of the incident described

              in the underlying matter. See Exhibit A;

       b. Cincinnati is under no obligation to provide a defense to any Defendant, in

              connection with the lawsuit hereinabove referred to as the underlying matter. See

              Exhibit A;




                                                     7
  Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 8 of 88




c. Cincinnati is under no obligation to satisfy any judgment rendered against Defendants

   Clinton W. Holland Revocable Trust UAD or Clinton W. Holland, Individually and

   as Trustee, arising out of the underlying matter. See Exhibit A;

d. The herein named Defendant, Kalob Franke, is not entitled to monies or benefits

   from Cincinnati in the event he is successful in securing a judgment as against

   Defendants Clinton W. Holland Revocable Trust UAD or Clinton W. Holland,

   Individually and as Trustee, in reference to the underlying matter See Exhibit A; and,

e. Award Cincinnati's costs, attorneys' fees, and all other just and proper relief to which

   it may be entitled.

                                     Respectfully submitted,

                                     BARBER LAW FIRM PLLC
                                     Attorneys for The Cincinnati Specialty
                                     Underwriters Insurance Company
                                     425 West Capitol Avenue, Suite 3400
                                     Little Rock, Arkansas 72201-3483
                                     Telephone: 501-372-6175/ Facsimile: 501-375-2802


                                     Sc,1f;N
                                     scotts@barberlawfirm.com
                                                                920~

                              By:
                                     afrank:s@barberlawfirm.com
                                     Adam D. Franks, AR BIN 2016124




                                        8
      Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 9 of 88



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


THE CINCINNATI SPECIALTY UNDERWRITERS
INSURANCE COMPANY                                               PLAINTIFF

V.                       NO.   ------

CLINTON WILLIAM HOLLAND
REVOCABLE TRUST UAD
AUGUST 9, 2010; CLINTON WILLIAM
HOLLAND, INDIVIDUALLY AND AS
TRUSTEE OF CLINTON WILLIAM
HOLLAND REVOCABLE TRUST
UAD AUGUST 9, 2010; ALLISON HOLLAND;
AND KALOB FRANKE                                             DEFENDANTS




                 EXHIBIT A

         The Complaint in
         underlying matter
                       Case 4:19-cv-00586-BRW Document 1 page
                                                           Filed
                                                               7 08/20/19 Page 10 of 88
                         Fax H&h Truss 14797544899
Mar 11   2019 12:33PM Hp




                                                                       '  -
                              IN THE CIRCUIT COURT OF POPE COUNTY, ARKAN~ , .
                                               CML DIVISION

                KALOBFRANKE                                                                         PLAINTIFF

                vs.                                  CASE NO~'f:1-1$

                CLINTON WILLIAM ROLLAND
                REVOCABLE TRUST UAD AUGUST 9; 2010;
                CLINTON WILLIAM HOLLAND, INDJVIDUALLV
                AND AS TRUSTEE OF CLINTON WILLIAM
                HOLLAND REVOCABLE TRUST UAD AUGUSI' 9~ 2010                                      DEFENDANTS

                                                         COMPLAINT
                       Comes now Plaintiff, K.alob Franke, by and through rus undersigned attorneys, Lacy Law

                Firm and Henry Law Finn, PLC, and for their Complaint against Defendant Clinton WiJliam Holland

                Revocable Trust UAD August 9, 2010, and Clinton William Holland, Individually and as Trustee

                of Clinton William Holland Revocable Trust UAD August 9, 2010, states as follows:

                                           PARTIES, IURISDlCTION & VENUE

                       l.      Plaintiff Kaleb Franke is an individual residing in Pope County, Arkansas.

                       2.      Defendant Clinton William Holland Revocable Trust UAD August 9, 2010 ("the

                Trustj is a trust created pursuant to Mansas law. The trustee of the Trust is Clinton William

                Holland, a resident of Johnson County, Arkansas. The Trust is the owner of real property located

                in Johnson County, Arkansas, more particularly described in Exhibit 1, a Warranty Deed with

                Holland Ointon Trust listed as the grantee filed in Book 20 J 1017 at Page 203 in the land records


                                                                1
                      Case 4:19-cv-00586-BRW Document 1 page
                                                         Filed8 08/20/19 Page 11 of 88
Mar 11   2019 12:34PM HP Fax H&h Truss 14797544899




               of Johnson County; Arkansas. The address of the property is Highway 64, Clarksville. AR 72830.

               The address is the location of an event venue called ~'Meet.in on 64"where an event was held oo the

               evening of October 20. 2018. K.alo~ Franke was shot multiple times at this event. He is now

               paralyzed as a result of the injuries sustained at the Defendant•s property. The trustee of the Trust

               for purposes of service of process pursuant to Rule 4 of the Arkansas RuJes of Civil Proctdure is

               Clinton WiHiam Holland.

                      3.      Clinton William Holland is the settlor, beneficiary, and trustee ofthe Clinton WiJliam

               Holland Revocable Trust UAD August 9,2010. As such, the Trust is not a separate legal entity. but

               simply an alter ego of Clinton William Holland. Clinton William Holland was .responsible for all

             · ownership and management decision& conceming the ..Meetin on 64" event venue at·wmch the

               injuries giving rise to this lawsuit occurred.

                      4.      Jurisdiction is appropriate given the residence of the parties and the fact that

               this action involves ca.uses of action for personal injury.

                       5.      Venue is proper in this court pursuant to Arkansas Code Ann. § 16-55•

               213(a)(3XA) based upon the residence of the Plaintiff.

                                                 GENERAL ALLEGATIONS

                       6.      Kalob Franke was an invitee, attendee and patron ofuMcetin oo          64:~ an event
               venue in Clarksville,. Arkansas, during an event held on October 20, 2018, the evening of

               Mansas Tech University's homecoming football game. Hundreds of people. including

               Franke, attended this event.

                       7.      While attending the. event at thu; location, one or more gun, discharged


                                                                 2
                      Case 4:19-cv-00586-BRW Document 1 page
                                                          Filed
                                                              9 08/20/19 Page 12 of 88
Mar 11   2019 12:34PM HP Fax H&h Truss 14797544899




               randomly into the crowd. Franke was shot twice.
                                                                           2
                      8.      Defendant, the owner of the "Meetin on 64 ' venue, authorized the event to take

               place at this location andt in fact, received consideration in exchange for permitting this event

               to take place. Despite knowing of the event. and despite knowing the number of likely

               patrons that would attend, that the attendees included underage persons, and that alcohol

               would be consumed on site during the evenlt Defendant did not ensure that adequate security

               was provided or that patrons or attendees were wamed of the possible dangers associated

               with the lack of security at the site.,

                      9.      '"Meetin on 64" created a dangerous situation for its invitees, did not take

               reasooa.ble steps to protect its invitee~ and ignored the danger to its invitees, by failing to

               have adequate security on hand and wling to have adequate policies and procedures in place

               to protect the patrons, such as Plaintiff, from injury on the premises.

                       10.    "Meetin on 64" and its management knew and/or should have known the

               likelihood ofinjury to its invitees ifthe activities were not controlled and if invitees were not

               adequately warned of the risks created by inadequate security.

                       11.    "Meetin on 64" and its ownership and management, including Defendant

               herein, provided insufficient and "inadequate staffmg to prevent patrons, attendees and

                invitees from caming injury to other patrons, attendees and invitees.

                       12.     On themomingof0ctober21, 2018,atapproximately 12:54 am, inthemiddle

                of the ongoing ev-ent, gunshots were ftted inside the venue. It is unknown who fared the


                                                               3
                        Case 4:19-cv-00586-BRW Document 1 page
                                                            Filed
                                                                10 08/20/19 Page 13 of 88
Mar 11   2019 12:34PM HP Fax H&h Truss 14797544899




               shots. It is unknown whether the shots were fired intentionally or accidentally. It is

               unknown how or why the shots were fired. No one has been or arrested or charged with

               anything in connection with the discharge of a weapon at this event. What is known is that

               Kalob Franke and at least one other patron, attendee and invitee at the event were shot.

                        13.   Kalob Franke bas no idea who fired the shota or why they were ftred. He was

               dancing to music at the time the shots were fired, and the next thing he remembers is feeling

               the pain of the gunshots as he was lying on the floor. He was transported by ambuJance to

               a local hospital and airlifted to St Vincent Hospital in Little Rock. Kalob Franke is now

                para,lyud from the waist down as a result of one of the gunshots.

                        14.   Upon information and belief, whoovec and however the weapon{s) was

                discharged, the injury to Kalob Franke was not intentional.

                                               COUNT I-NEGLIGENCE
                        15.   Paragraphs l-14 are incorporated herein by refermce as set forth word for

                word.

                        16.   Defendants had a res.ponsibility for the safety of "Meetin on 641s" patrons~

                attendees and invitees, and were under a duty to use ordinary care to maintain the premises

                in a reasonably safe condition. Defendants also had a duty to use reasonable care to protect

                patrons from reasonably foreseeable injury at the hands of other patrons.

                        17.   Given the number of persons attending the event on October 20-21, 2018, the

                fact that alcohol was permitted on the premises, the fact that underage persons were attending



                                                              4
                    Case 4:19-cv-00586-BRW Document 1 page
                                                        Filed
                                                            11 08/20/19 Page 14 of 88
Mar 11 2019 12:35PM HP Fax H&h Truss 14797544899




              the event, the fact that underage persons were conswning alcohol, and the fact that

              inadequate security was being· provided. the risk of harm from an event like the one that

              occurred was foreseeable. It was foreseeable that, in the absence of appropriate prec111tions

              and safeguards, bodily harm to the pattons, attendees and invitees, including Plaintiff, was

              a likely occurrence.

                     I 8.   Defendants accepted the duty to provide a reasonably safe environment and to

              protect Plaintiff from an occurrence like the one that occurred. Defendants were negligent

              in failing to warn Plaintiff of this foreseeable risk of hann or to protect Plaintiff from such

              a foreseeable risk.

                     19.    Defendants created an environment without reasonable policies or safeguards

              to protect Plaintiffs from known and foreseeable dangers and harm.                 Defendants

              unreasonably created and maintained an unsafe environment for Plaintiff.

                     20.    The fact that Plaintiff was at risk ofhann of the type suffered herein was

              certainly foreseeable to Defendants.

                     21.    As a direct and proximate result of Defendants• failure to use ordinary

              reasonable care, Plaintiff was shot multiple times, suffering serious physical and emotional

              injuries more fully set fonh below.

                     22.     Defendants' actions were willful and wanton, and commined with a reckless

              disregard of the consequences. Defendants knew or ought to have known, in light of the

              SU1TOunding circumstances, that their conduct would naturally and probably result in iajury.


                                                             s
                        Case 4:19-cv-00586-BRW Document 1 page
                                                           Filed
                                                               12 08/20/19 Page 15 of 88
                ·.35PM HP Fax H&h Truss 14797544899
Mar 11   2019 12




                Defendants continued such conduct with malice and in reckless disregard of the

                consequences from which malice can be inferred. Accordingly, Plaintiff is entitled to

                punitive damages under Arkansas !aw.

                        23.   Plaintiff is entitled to a punitive damage award for each and every separate

                occurrence of the wrongs described herein. Plaintiff is entided to the maximum award

                allowed by law.

                                               COUNT Il- NEGLIGENCE
                                                  (l!aQ1re to Wttll

                        24.   Paragraphs 1-23 are incorporated herein by reference as set forth word for

                word.

                        25.   Defendants, the owner and manager of the "Meeting on 64" event venue, are

                in the business of hosting individuals. hosting parti~ and allowing individuals to dispense

                and consume alcoholic beverages and intoxicating liquors upon their premises.

                        26.   Defendants knew that they were ~ the duty to provide a reasonably

                safe environment and protect their patrons, and they assumed the higher duty ofordinary care

                in their patron·s, attendees' and invitees' safety.

                        27.   Defendants represented to the public that "Meetin on 64"' was safe and an

                appropriate environment for entertainment events.

                        28.   Defendants failed to warn.that "Meetin on 64•' was not a safe environment for

                their patrons, attendees and invitees.

                        29.   Defendants failed to wam Plaintiffthat they would not be providing adequate

                                                               6
                    Case 4:19-cv-00586-BRW Document 1 page
                                                        Filed
                                                            13 08/20/19 Page 16 of 88
Mar 11 2019 12:35PM HP Fax H&h Truss 14797544899




              protection and security at the event on October 20-21. 2018.

                     30.    Defendants failed to warn Plaintiff that they did not have sufficient ptotoeols,

              rules, guidelines, monitoring ~ , or other structures in place to protect their patrons,

              attendees and invitees from foreseeable risks of harm such as the one that occurred at the

              event in question.

                     31.    Defendants failed to warn Plaintiff that the event       venue was unsafe to

              individuals and to their patrons, anendees, and invitees.

                     32.    As a result of Defendants' failure to warn Plaintiff of known dangers and of

              dangers to which they should have been aware, including dangers that they created, Plaintiff

              has suffered damages more fully set forth below.

                     33.    Defendants' failure to warn Plaintiff of the dangers is negligence and is a

              proximate cause of the damages asserted herein.

                     34.    Defendants' actions were willful and want.on, and committed with a reckless

              disregard of the consequences. Defendants knew or ought to have known, in light of the

              sutTounding circumstances, that their conduct would naturat1y and probably result in injury.

              Defendants continued such conduct with malice and in reeldess disregard of the

              consequences from which malice can be inferred. Accordingly, Plaintiff is entitled to

              punitive damages under Arkansas law.

                                        COUNT m · NEGLIGENT HIRING

                     3 5.   Paragraphs 1 through 34 arc incorporated herein by reference as set forth word


                                                             7
                      Case 4:19-cv-00586-BRW Document 1 page
                                                          Filed
                                                              14 08/20/19 Page 17 of 88
Mar 11   2019 12:35PM HP Fax H&h Truss 14797544899




               for word.

                      36.     Defendants knew, or in the exercise of ordinary care should have known, that

               the inadequate number, inexperience and lack of qualifications of any security staffwouJd

               subject third parties to an unreasonable risk of hann.

                      37.     Defendants were negligent in that they failed to exercise ordinary W""e to

               investigate and insure that positi~ such as bouncers and security personnel, which ha.d the

               duty to protect the patrons, attendees and invitees from the unreasonable risk of harm. were

               filled with sufficient, adequate, qualified, and trained personnel.

                      38.     As a direct and proximate result of Defendants" negligence, Plaintiff suffered

               damages in an amount in excess ofthal required for federal diversity jurisdiction.

                                       COUNT IV· NEGLIGENT RETENTION

                       3 9.   Paragraphs l through 38 are incorporated herein by reference as set forth word

               for word.

                       40.    Defendants knew tor in the exercise of ordinary care should have known, that

                "Meetin on 64's" security staffwere insufficient, in.adequate, and were inadequately trained

                and unqualified.

                       41.    Despite this knowl~ge, Defendants retained insufficient and inadequate

                security staff and allowed them to perfonn their duty on the premises with knowledge of an

                unreasonable risk of hann to third parties, including Plaintiff.

                       42. • The retention of insufficient and inadequate security staffwas negligence and


                                                              8
                     Case 4:19-cv-00586-BRW Document 1 page
                                                         Filed
                                                             15 08/20/19 Page 18 of 88
Mar 11 2019 12:35PM HP Fax H&h Truss 14797544899




              a proximate result of the injuries suffered by Plaintiff.

                      43.    Plaintiff is entitled to recover from the Defendants damages in an amOW'\t in

              excess of that requirod for federal diversity jurisdiction.

                              COUNT V - NEGLIGENT SUPERVISION/fRAINING

                      44.    Paragraphs 1 through.43 are incorporated herein by reference as set forth word

               for word.

                      45.    Defendants knew or should have known through the exercise of ordinary care

               that the insufficient, inadequate, and unqualified security staff would subject third parties to

               an unreasonable risk of hann.

                      46.    Defendants provided no formal training, training manuals, materials or

               workbooks, or other training governing the conduct of the security staff in an effort to

               prevent an unreasonable risk of harm to patrons such as Plaintiff.

                      47.     Defendants failed to exercise reasonable care to avoid harm to third-party

               persons by failing to supervise     their   security staff when the Defendants knew, or by

               exercising reasonable diligence should have known, of the foreseeable risk of h.ann to their

               patrons, including Plaintiff.

                      48.     As a direct and proximate m;ult ofDefendants' negligence, Plaintiffis entitled

               to recover damages in an amount in excess of that required for federal diversity jurisdiction.

                                                           DAMAGES

                      49.     Paragraphs l through 48 are incorporated herein by reference as set forth word


                                                               9
                       Case 4:19-cv-00586-BRW Document 1 page
                                                          Filed
                                                              16 08/20/19 Page 19 of 88
Mar 11   2019 12:35PM HP Fax H&h Truss 14797544899




               for word.

                       50.    As a direct and proximate result of the improper actions described more

               specifically herein, Plaintiff is paralyzed .from the waist down. He has suffered the

               following:

                       {a)    Medical expenses, both past and future;

                       (b)    Pain, suffering, and mental~ both past and future;

                       (c)    Loss of earnings mthe put and the present value of future lost earning.,;

                       ( d)   Lost earning capacify;

                       (e)    Scars, disfigurement and visible results of injury;

                       (f)    Caretaking expenses, past and future; and

                       (g)    Other out-of-pocket expenses.

                       51.    Plaintiff is entitled to recover in an amount determined by the jury for each of

               the above ailments or damages, as well as appropriate punitive damages as determined by the

               jury.

                       52.    Plaintiff's damages listed above exceed that required to establish federal

               diversity jurisdiction.

                       53.    Defendants knew, or should have known in light of the sUITOunding

               circumstances, that their conduct would naturally and probably result in injury and continued

                their conduct with malice or in reckless disregard of the comequences from which malice

                may be inferred. Defendants, actions are willful and wanton and are intolerable in a civilized


                                                              10
                      Case 4:19-cv-00586-BRW Document 1 page
                                                         Filed
                                                             17 08/20/19 Page 20 of 88
Mar 11   2019 12:36PM HP Fax H&h Truss 14797544899




               society. As a result, Plaintiff is entitled to recover punitive damage! from Defendants in an

               amount to be determined by the jury.

                      54.    Plaintiff hereby demands a trial by jury.

                      WHEREFO~ PlaintiffKalob Franke prays that he have and rec.over damages as set

               forth herein, both compensatory and punitive, and all costs, attorney's fee~ and otherjust and

               proper relief to which he is entitled.

                                                                  Respectfully Submitted,


                                                                  Brandon Lacy (#2003098)
                                                                  Lacy Law Firm
                                                                  202 West Meadow
                                                                  Fayetteville, AR 7270 J
                                                                  (479) 957w964S
                                                                  \mmdon@lasylawfinn.com
                                                                  --end-

                                                                  Megan Henry (#2005157)
                                                                  Henry Law Firm, PLC
                                                                  202 West Meadow
                                                                  Fayetteville, AR 7270 I
                                                                  (419) S95-0909
                                                                  mem@bbt\awfian,com



                                                                  Brandon W. Lacy _,,J




                                                             ll
      Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 21 of 88



                 IN THE UNITED STA TES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


THE CINCINNATI SPECIALTY UNDERWRITERS
INSURANCE COMPANY                                                PLAINTIFF

V.                       NO. - - - - - -

CLINTON WILLIAM HOLLAND
REVOCABLE TRUST UAD
AUGUST 9, 2010; CLINTON WILLIAM
HOLLAND, INDIVIDUALLY AND AS
TRUSTEE OF CLINTON WILLIAM
HOLLAND REVOCABLE TRUST
UAD AUGUST 9, 2010; ALLISON HOLLAND;
AND KALOB FRANKE                                             DEFENDANTS




                  EXHIBIT B

 The Policy, declaration
       pages, and
     endorsements
                Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 22 of 88


                                                    The Cincinnati Specialty Underwriters
 A     ~   -
 c,i\Jc,NNATI
                                                            Insurance Company
                                                                         A Stock Insurance Company

                                                    Headquarters: 6200 S. Gilmore Road, Fairfield, OH 45014-5141
     SPECIALTY UNDERWRITERS                         Mailing address: P.O. Box 145496, Cincinnati, OH 45250-5496
     INSURANCE COMPANY
                                                                     www.cinfin.com    •   513-870-2000
                                COMMON POLICY DECLARATIONS

POLICY NUMBER: CSU0108088                                      PREVIOUS POLICY NUMBER:
NAMED INSURED AND MAILING ADDRESS:                                   This is a true and certified copy of the poHcy.
 Clinton W. Holland Revocable Trust UAD


 Refer to Named Insured Schedule CSIA409
 9591 HIGHWAY 103
 CLARKSVILLE AR 72830
                                                                     ~z#~
                                                                     Scott E. Hintze, Vice President
 PRODUCER- Your contact for matters pertaining to this policy: 03-02 8                     Broker: 1897317
 BancorpSouth Insurance Services, Inc.                                                     CSU Producer Resources, Inc.
 PO Box 9180                                                                               6200 South Gilmore Road
 Jonesboro AR 72403-9180                                                                   Fairfield, OH 45014-5141
                                                                                           Scott Hintze
 Policy Period: From 12/13/2017            To 12/13/2018             AT 12:01 A.M. STANDARD TIME AT YOUR MAILING ADDRESS
 SHOWN ABOVE.
 Form of Business:
 ~ Individual   D   Partnership D Corporation   D    Joint Venture   D   Limited Liability Company   D   Other
 Business Descriotion: Event Hall, Arena
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
       THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
                   INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
 COVERAGE PARTS                                                           PREMIUM
                                                   DEPOSIT PREMIUM

 Commercial General Liability                                                                              $     2,501.00
 Terrorism Risk Insurance Extension Act                                                                          Excluded
 Broker Fee                                                                                                $        35.00

                                               TOTAL POLICY PREMIUM     $      2,536.00
        CANCELLATION MINIMUM EARNED PREMIUM IS 25. 0% OF TOTAL POLICY PREMIUM.
 Surplus Lines Taxes                                                    $        101. 44
 Stamping Fee                                                                                                         N/A
 Other Taxes or Fees                                                                                                  N/A
                                                                                   TOTAL                   $     2,637.44
Premium is subject to annual audit: IZ) Yes          •    No




                                          Includes copyrighted material of ISO
CSIA 501 07 14                            Properties, Inc., with its permission                                  Page 1 of 2
             Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 23 of 88


NOTICE TO POLICYHOLDER:
This contract is registered and delivered as a surplus line coverage under the Surplus Lines Insurance Law, and it
may in some respects be different from contracts issued by insurers in the admitted markets, and, accordingly, it
may, depending upon the circumstances, be more or less favorable to an insured than a contract from an
admitted carrier might be. The protection of the Arkansas Property and Casualty Guaranty Act does not apply to
this contract. A tax of four percent (4%) is required to be collected from the insured on all surplus lines
premiums.
FORMS AND ENDORSEMENTS ATTACHED TO THIS POLICY AT TIME OF ISSUE:
Refer to Forms and Endorsements Schedule      CSIA406
THIS COMMON POLICY DECLARATIONS AND THE SUPPLEMENTAL DECLARATION(S) TOGETHER WITH THE
COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART(S), COVERAGE
FORM(S) AND FORM(S) AND ENDORSEMENT(S), IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE
THE ABOVE NUMBERED POLICY.

Signed by:                                                                       Date
             (Authorized representative or countersignature, where applicable)




                                       Includes copyrighted material of ISO
CSIA 501 07 14                         Properties, Inc., with its permission                      Page 2 of 2
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 24 of 88


POLICY NUMBER CSU0108088

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  NAMED INSURED SCHEDULE
This Schedule supplements the Declarations.
                                              SCHEDULE
Named Insured:   Clinton W. Holland Revocable Trust UAD




CSIA 409 01 08                                                    Page 1 of 1
                    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 25 of 88




                                            Forms and Endorsements Schedule

POLICY NUMBER:      CSU0108088         POLICY EFFECTIVE DATE:   12/13/2017


NAMED INSURED: Clinton   W. Holland Revocable Trust UAD


FORMS APPLICABLE

Forms Applicable - Common Forms
CSIASOl   (07/14)   Common Policy Declarations
CSIA409   (01/08)   Named Insured Schedule
CSIA410   (03/08)   Notice to Policyholders
CSIA403   (08/07)   Special Provisions - Premium
CSIA404   (08/07)   Service of Suit
CSIA300   (01/09)   Exclusion of Certified Acts and Other Acts of Terrorism

Forms Applicable - Commercial General Liability
CSGASOl (04/08)   Commercial General Liability Coverage Part Declarations
CSGA403 (10/07)   Liability Premises Schedule
CSGA408 (04/08)   Commercial General Liability Classification and Premium Schedule
CGOOOlTOC (04/13) Commercial General Liability Coverage Form Table of Contents
CGOOOl (04/13)    Commercial General Liability Coverage Form
CSGA401TOC (02/13)Changes to Commercial General Liability Coverage Form Table of Contents
CSGA401 (02/13)   Changes to Commercial General Liability Coverage Form
CSGA402TOC (OS/16)Contractors - Changes to Commercial General Liability Coverage Part Table of Contents
CSGA402 (05/16)   Contractors - Changes to Commerical General Liability Coverage Part
CG2107 (05/14)    Exclusion - Access or Disclosure of Confidential or Personal Information and Data-Related Liability
CG0300 (01/96)    Deductible Liability Insurance
CG2644 (12/04)    AR Changes - Non-Binding Arbitration
IL0199 (09/08)    Arkansas Changes - Transfer of Rights of Recovery Against Others to Us
CG2426 (04/13)    Amendment of Insured Contract Definition
CG2150 (04/13)    Amendment of Liquor Liability Exclusion




CSIA 406 08 07                                                                                                   Page 1 of 2
                      Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 26 of 88




                                                Forms and Endorsements Schedule
POLICY NUMBER:        csuo108088           POLICY EFFECTIVE DATE:   12/13/2017


NAMED INSURED: Clinton     W.   Holland Revocable Trust UAD

FORMS APPLICABLE

Forms Applicable - Commercial General Liability
CSGA416 (04/08)       Independent Contractors Limitations of Coverage
CSGA418 (06/08)       Amendment of Pollutants Definition
CSGA361 (06/08)       Exclusion - Fungi or Bacteria
CSGA4 3 9 ( 11/08 )   Amendment of Duties in the Event of Occurrence Offense Claim or Suit Condition
CG0142 (07/11)        Arkansas Changes
CG2147 (12/07)        Employment-Related Practices Exclusion
CG2149 (09/99)        Total Pollution Exclusion Endorsement
CG2196 (03/05)        Silica Or Silica-Related Dust Exclusion
CSGA301 (03/16)       Exclusion-Assault or Battery
CSGA358 (06/08)       Exclusion - Participants and Contestants
CSGA3015 (07/12)      Exlusion - Animal Participants
IL0017 (11/98)        Common Policy Conditions
IL0021 (09/08)        Nuclear Energy Liability Exclusion Endorsement
CSLL348 (01/08)       Limitation - No Stacking of Limits of Insurance
IL0003 (09/08)        Calculation of Premium
CSIA405(08/09)-A-     Limitation of Coverage to a designated premises




CSIA 406 08 07                                                                                         Page 2 of 2
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 27 of 88




         THE CINCINNATI SPECIALTY UNDERWRITERS INSURANCE COMPANY

                             NOTICE TO POLICYHOLDERS
Please be advised that in your application for insurance you disclosed information to The Cincinnati Specialty
Underwriters Insurance Company, a subsidiary of The Cincinnati Insurance Company. The information
disclosed in the application and all information collected by this company or The Cincinnati Insurance
Company, The Cincinnati Casualty Company or The Cincinnati Indemnity Company may be shared among all
four companies.




CSIA 410 03 08                                                                                   Page 1 of 1
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 28 of 88


POLICY NUMBER: CSU0108088


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          SPECIAL PROVISIONS - PREMIUM
This endorsement modifies the policy to add the following special provisions:


                                                  SCHEDULE
Deposit Premium and Minimum Premium
        The minimum premium is equal to 100% of the deposit premium

Cancellation Minimum Earned Premium
        Cancellation minimum earned premium is equal to 2 5 % of the total policy premium.


We will compute all premiums for coverage in accordance with our rules and rates.

The deposit premium is subject to audit when indicated as such on the declarations. At the close of each audit
period we will compute the earned premium for that period and send notice to the first Named Insured. The due
date for audit premiums is the due date on the bill.

If the earned premium is less than the deposit premium paid for the policy period, we will return the excess to
the first Named Insured, subject to the minimum premium as defined below. If the earned premium is greater
than the deposit premium paid for the policy period the additional premium shall become due and payable to
the company.

Deposit premium is the premium stated in the Declarations payable in full at the inception of the policy.

Earned premium is computed by applying the policy rates to the adual premium basis for the audit period.

Minimum premium is the lowest amount to be retained as premium for the policy period. The minimum
premium is equal to 100% of the deposit premium shown in the Dedarations unless otherwise indicated in the
Schedule above.

Cancellation minimum earned premium is the minimum amount to be retained as premium if you request
cancellation of this policy. Cancellation minimum earned premium is equal to 25% of the total policy premium
shown in the Declarations unless otherwise indicated in the Schedule above.

Any premium shown as flat charge is fully earned and is not subject to the cancellation minimum earned
premium.

The first Named Insured must keep records of the information we need for premium computations, and send
us copies at such times as we may request.




CSIA 403 08 07
      Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 29 of 88


POLICY NUMBER:       csuo1ososs

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                      SERVICE OF SUIT
This endorsement modifies insurance provided under the following:
ALL COVERAGE PARTS


                                                 Schedule
Service of Process will be accepted by:

Cincinnati Specialty Underwriters
c/o Richard Hill
6200 South Gilmore Road
Fairfield, OH 45014

It is agreed that in the event of the failure of the Company to pay any amount claimed to be due
hereunder, the Company, at the request of the Insured, will submit to the jurisdiction of any court of
competent jurisdiction within the United States of America and will comply with all requirements
necessary to give such Court jurisdiction and all matters arising hereunder shall be determined in
accordance with the law and practice of such Court.

It is further agreed that service of process in such suit may be made upon the party shown in the
Schedule above and that in any suit instituted against the Company upon this policy, the Company will
abide by the final decision of such Court or of any Appellate Court in the event of an appeal.

The party named in the Schedule above is authorized and directed to accept service of process on behalf
of the Company in any such suit or upon request of the Insured to give a written undertaking to the
Insured that it or they will enter a general appearance upon the Company's behalf in the event such a suit
shall be instituted.

Pursuant to any statute of any state, territory or district of the United States of America which makes
provision therefore, the Company hereby designates the Superintendent, Commissioner or Director of
Insurance or other officer specified for that purpose in the statute, or his successor or successors in
office, as our true and lawful attorney upon whom may be served any lawful process in any action, suit or
proceeding instituted by or on behalf of the Insured or any beneficiary arising out of this contract of
insurance, and hereby designates the above named as the person to whom the said officer is authorized
to mail such process or a true copy thereof.




CSIA 404 08 07
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 30 of 88


                                                                                                   CSIA 300 01 09


    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      EXCLUSION OF CERTIFIED ACTS AND
                         OTHER ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:
    All Commercial Lines Coverage Parts, Coverage Forms, Policies and Endorsements except Medi-
    cal Professional Liability (professional liability forms insuring dentists, optometrists, nurses, and
    nursing homes, among others)

                                                                 Such loss or damage is excluded regardless
A. The following definitions are added with re-                  of any other cause or event that contributes
    spect to the provisions of this endorsement:                 concurrently or in any sequence to the loss.
    1.   "Certified act of terrorism" means an act               But with respect to an "other act of terrorism",
         that is certified by the Secretary of the               this exclusion applies only when one or more
         Treasury, in concurrence with the Secre-                of the following are attributed to such act:
         tary of State and the Attorney General of
         the United States, to be an act of terror-               1.   The terrorism is carried out by means of
         ism pursuant to the federal Terrorism                         the dispersal or application of pathogenic
         Risk Insurance Act. The criteria contained                    or poisonous biological or chemical mate-
         in the Terrorism Risk Insurance Act for a                     rials;
         "certified act of terrorism" include the fol-
         lowing:                                                 2.    Pathogenic or poisonous biological or
                                                                       chemical materials are released, and it
         a.   The act resulted in insured losses in                    appears that one purpose of the terrorism
              excess of $5 million in the aggre-                       was to release such materials;
              gate, attributable to all types of in-
              surance subject to the Terrorism                   3.    The total of insured damage to all types
              Risk Insurance Act; and                                  of property in the United States, its territo-
                                                                       ries and possessions, Puerto Rico and
         b.   The act is a violent act or an act that                  Canada exceeds $25,000,000. In deter-
              is dangerous to human life, property                     mining whether the $25,000,000 thresh-
              or infrastructure and is committed by                    old is exceeded, we will include all in-
              an individual or individuals as part of                  sured damage sustained by property of
              an effort to coerce the civilian popu-                   all persons and entities affected by the
              lation of the United States or to influ-                 terrorism and business interruption
              ence the policy or affect the conduct                    losses sustained by owners or occupants
              of the United States Government by                       of the damaged property. For the pur-
              coercion.                                                pose of this provision, insured damage
                                                                       means damage that is covered by any
    2.   "Other act of terrorism" means a violent                      insurance plus damage that would be
         act or an act that is dangerous to human                      covered by any insurance but for the ap-
         life, property or infrastructure that is                      plication of any terrorism exclusions. Mul-
         committed by an individual or individuals                     tiple incidents of "other acts of terrorism"
         and that appears to be part of an effort to                   which occur within a 72-hour period and
         coerce the civilian population or to influ-                   appear to be carried out in concert or to
         ence the policy or affect the conduct of                      have a related purpose or common lead-
         any government by coercion, and the act                       ership will be deemed to be one incident;
         is not a "certified act of terrorism".
                                                                 4.    Fifty or more persons sustain death or se-
B. The following exclusion is added:                                   rious physical injury. For the purposes of
    EXCLUSION OF CERTIFIED ACTS AND                                    this provision, serious physical injury
    OTHER ACTS OF TERRORISM                                            means:

    We will not pay for any loss, injury or damage                     a.   Physical injury that involves a sub-
    caused directly or indirectly by a "certified act                       stantial risk of death;
    of terrorism" or an "other act of terrorism".

                                        Includes copyrighted material of ISO
                                     Properties, Inc. and American Association
CSIA 300 01 09                    of Insurance Services, Inc., with its permission.                   Page 1 of3        D
               Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 31 of 88


          b.   Protracted and obvious physical dis-                sponsible under the terms of that Act (includ-
               figurement; or                                      ing subsequent action of Congress pursuant
                                                                   to the Act) due to the application of any clause
          c.   Protracted loss of or impairment of                 which results in a cap on our liability for pay-
               the function of a bodily member or                  ments for terrorism losses.
               organ; or
                                                                   This Section C. does not apply to:
     5.   The terrorism involves the use, release or
          escape of nuclear materials, or directly or              1.   A Coverage Part for a "certified act ofter-
          indirectly results in nuclear reaction or ra-                 rorism" or "other act of terrorism" that oc-
          diation or radioactive contamination.                         curs in a state that allows an exception
                                                                        for fire resulting from terrorism; or
     Paragraphs B.3. and B.4. immediately pre-
     ceding, describe the threshold used to meas-                  2.   An Inland Marine Coverage Part for a
     ure the magnitude of an "other act of terror-                      "certified act of terrorism" or "other act of
     ism" and the circumstances in which the                            terrorism" that occurs in a state that al-
     threshold will apply, for the purpose of deter-                    lows a commercial inland marine excep-
     mining whether this Exclusion will apply to that                   tion,
     incident. When the Exclusion applies to an
     "other act of terrorism", there is no coverage                to its Standard Fire Policy minimum fire cov-
     under this Coverage Part, Coverage Form,                      erage regulations.
     Policy or Endorsement, except as provided in             D.   Exception Covering Minimum             Financial
     this Endorsement.                                             Responsibility
     However, Paragraph B.4. immediately pre-                      The following applies to the Business Auto
     ceding, is not to be used as a threshold to                   Coverage Form, Business Auto Physical
     measure the magnitude of an "other act of ter-                Damage Coverage Form, Garage Coverage
     rorism" for the purposes of determining if this               Form, Motor Carrier Coverage Form, Single
     exclusion applies to a Commercial Property                    Interest Automobile Physical Damage Insur-
     Coverage Part, Commercial Inland Marine                       ance Policy and Truckers Coverage Form if
     Coverage Part, Machinery and Equipment                        they are included in, or are part of, this Policy
     Coverage Part, Commercial Crime Coverage                      and if the "certified act of terrorism" or "other
     Form, Commercial Crime Policy, Employee                       act of terrorism" causes loss in a state that re-
     Theft and Forgery Policy, Farm Property Cov-                  quires compulsory or financial responsibility
     erage Part, Government Crime Coverage                         minimum limits apply to excluded acts of ter-
     Form, Government Crime Policy, Standard                       rorism:
     Property Policy, or Section I of the Business-
     owners Package Policy.                                        The exclusion stated in Section B. of this en-
                                                                   dorsement does not apply to:
C.   Exception Covering Certain Fire Losses
                                                                   1.   Liability or Personal Injury Protection
     The following modifies insurance provided                          Coverage, but only up to the state com-
     under the following: Commercial Inland Ma-                         pulsory or financial responsibility law
     rine Coverage Part, Commercial Property                            minimum limits of insurance for each
     Coverage Part, Farm Coverage Part and                              coverage; and
     Standard Property Policy:
                                                                   2.   Uninsured and / or Underinsured Motor-
     If a "certified act of terrorism" or an "other act                 ists Coverage, if applicable, but only up to
     of terrorism" causes fire damage to property                       the minimum statutory permitted limits of
     that is subject to the Standard Fire Policy in a                   insurance for each coverage.
     state that utilizes the Standard Fire Policy as
     its minimum fire coverage standard, we will              E.   Application of Other Exclusions
     pay for the loss or damage caused by that
     fire. Such coverage for fire applies only to di-              The terms and limitations of any terrorism ex-
     rect loss or damage by fire to Covered Prop-                  clusion, or the inapplicability or omission of a
     erty. Therefore, for example, the coverage                    terrorism exclusion, do not serve to create
     does not apply to insurance provided under                    coverage for any loss which would otherwise
     Business Income and / or Extra Expense cov-                   be excluded under this Coverage Part, Cov-
     erages, or to the Legal Liability Coverage                    erage Form, Policy or endorsement such as
     Form or the Leasehold Interest Coverage                       losses excluded by:
     Form.                                                         1.   Exclusions that address war, warlike ac-
     With respect to fire resulting from any one or                     tion, insurrection, rebellion, revolution,
     more "certified acts of terrorism" under the                       military action, nuclear hazard, nuclear
     federal Terrorism Risk Insurance Act, we will                      materials, nuclear reaction, radiation, or
     not pay any amounts for which we are not re-                       radioactive contamination;

                                         Includes copyrighted material of ISO
                                      Properties, Inc. and American Association
CSIA 300 01 09                     of Insurance Services, Inc., with its permission.                    Page 2 of3      D
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 32 of 88


     2.   Exclusions that address pollutants, con-                 to the extent that such terms and conditions
          tamination, deterioration, fungi or bacte-               are otherwise covered by the Coverage Part,
          ria; or                                                  Coverage Form, Policy or Endorsement to
                                                                   which this endorsement applies.
     3.   Any other exclusion,
                                                              G.   Supersession
     regardless if the "certified act of terrorism" or
     "other act of terrorism" contributes concur-                  The exclusions for acts of terrorism in this en-
     rently or in any sequence to the loss, injury or              dorsement supersede any offers of terrorism
     damage.                                                       coverage.
F.   Conformity With Statute                                  H.   Sunset Clause
     If any terms or conditions of this endorsement                If the federal Terrorism Risk Insurance Act
     are in conflict with the laws of the jurisdiction             expires or is repealed, then this endorsement
     under which this policy is construed, then                    is null and void for any act of terrorism except
     such terms and conditions will be deemed                      "other acts of terrorism" that takes place after
     changed to conform with such laws, but only                   the expiration or repeal of the Act.




                                         Includes copyrighted material of ISO
                                      Properties, Inc. and American Association
CSIA 300 01 09                     of Insurance Services, Inc., with its permission.                 Page3 of3        D
            Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 33 of 88


            THE CINCINNATI SPECIALTY UNDERWRITERS INSURANCE COMPANY
     COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS
Attached to and forming part of POLICY NUMBER: csuo1ososs                       Effective date:   12/13/2017

Named Insured: Clinton W. Holland Revocable Trust UAD


                                           LIMITS OF INSURANCE
EACH OCCURRENCE LIMIT                          $1,000,000
      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                      $100,000                          Any one premises
    MEDICAL EXPENSE LIMIT                      $1,000                            Any one person
PERSONAL & ADVERTISING INJURY LIMIT            $1,000,000                        Any one person or organization
GENERAL AGGREGATE LIMIT                                                          $ 2,000,000
PRODUCTS/COMPLETED OPERATIONS AGGREGATE LIMIT                                    $ 2,000,000



FORMS AND ENDORSEMENTS APPLICABLE TO THIS COVERAGE PART:
Refer to Forms and Endorsements Schedule CSIA 406

COMMERCIAL GENERAL LIABILITY PREMISES SCHEDULE : Refer to CSGA 403

COMMERCIAL GENERAL LIABILITY CLASSIFICATION AND PREMIUM SCHEDULE: Refer to CSGA 408


                                                       TOTAL DEPOSIT PREMIUM$ 2, soi
Premium is subject to annual audit: Ix] Yes   •   No




                                      Includes copyrighted material of ISO
   CSGA 501 04 08                      Properties, Inc., with its permission.                         Page 1 of 1
             Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 34 of 88

                     Commercial General Liability Premises Schedule
POLICY NUMBER:   csuo1oaoaa      POLICY EFFECTIVE DATE:   12 / 13 / 2 o1 7    IX! if Supplemental
                                                                             Declarations Is Attached


NAMED INSURED: Clinton W. Holland Revocable Trust UAD



LOC.                ADDRESS
 1       9500 HIGHWAY 64
         CLARKSVILLE AR 72830




CSGA 403 10 07                                                                       Page 1 of 1
                  Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 35 of 88




                           Commercial General Liability Classification and Premium Schedule

POLICY NUMBER: CSU0108088                POLICY EFFECTIVE DATE: 12/13/2017



NAMED INSURED:     Clinton W. Holland Revocable Trust UAD

LOC                CLASSIFICATION              CODE    PREMIUM                            RATE                 DEPOSIT PREMIUM
NO.                                              NO.    BASE
                                                       A-Area                  Premises       Products/      Premises       Products/
                                                       B -Payroll            Operations and   Comple18d    Operations and   Comple18d
                                                       S - Gross Sales         All Other      Operations     All Other      Operations
                                                       U -Units

1     Halls (For-Profit)                       44276   A, 25600              97.695           .000         $2,501

1     Stables - boarding, livery or racing     99111   B, If Any             7.335            .000         $

1     Rodeos                                   47318   S, If Any             12. 872          .000         $




CSGA 408 04 08                                                                                                                   Page 1 of 1
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 36 of 88


                                                                 COMMERCIAL GENERAL LIABILITY
                                                                             CG 00 01 TOC 0413


       COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                   TABLE OF CONTENTS
                                                               Page No.
SECTION I-COVERAGES _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 1
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY                                           1
1. Insuring Agreement                                                                            1
2. Exclusions                                                                                    2
   a. Expected Or Intended Injury                                                                2
   b. Contractual Liability                                                                      2
   c. Liquor Liability                                                                           2
   d. Workers' Compensation And Similar Laws                                                     2
   e. Employer's Liability                                                                       2
   f. Pollution                                                                                  3
   g. Aircraft, Auto Or Watercraft                                                               4
    h. Mobile Equipment                                                                          4
    i. War                                                                                       4
   j. Damage To Property                                                                         5
   k. Damage To Your Product                                                                     5
   I. Damage To Your Work                                                                        5
   m. Damage To Impaired Property Or Property Not Physically Injured                             5
    n. Recall Of Products, Work Or Impaired Property                                             5
   o. Personal And Advertising Injury                                                            5
   p. Electronic Data                                                                            6
   q. Recording And Distribution Of Material Or Information In Violation Of Law                  6
COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY                                             6
1. Insuring Agreement                                                                            6
2. Exclusions                                                                                    6
   a. Knowing Violation Of Rights Of Another                                                     6
    b. Material Published With Knowledge Of Falsity                                              6
   c. Material Published Prior To Policy Period                                                  6
   d. Criminal Acts                                                                              7
   e. Contractual Liability                                                                      7
   f. Breach Of Contract                                                                         7
   g. Quality Or Performance Of Goods - Failure To Conform To Statements                         7
    h. Wrong Description Of Prices                                                               7
    i. Infringement Of Copyright, Patent, Trademark Or Trade Secret                              7
   j. Insureds In Media And Internet Type Businesses                                             7
    k. Electronic Chatrooms Or Bulletin Boards                                                   7
    I. Unauthorized Use Of Another's Name Or Product                                             7
   m. Pollution                                                                                  7
    n. Pollution-Related                                                                         7
   o. War                                                                                        7
    p. Recording And Distribution Of Material Or Information In Violation Of Law                 8



CG 00 01 TOC 0413                                                                   Page 1 of3
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 37 of 88


                                          TABLE OF CONTENTS (CONT'D)

                                                                          Page No.
COVERAGE C MEDICAL PAYMENTS _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 8
1. Insuring Agreement                                                              8
2. Exclusions                                                                      8
   a. Any Insured                                                                  8
   b. Hired Person                                                                 8
   c. Injury On Nonnally Occupied Premises                                         8
   d. Workers Compensation And Similar Laws                                        8
   e. Athletics Activities                                                         8
   f. Products-Completed Operations Hazard                                      8
   g. Coverage A Exclusions                                                     8
SUPPLEMENTARY PAYMENTS - COVERAGES A AND B                                      8
SECTION II -WHO IS AN INSURED                                                  10
SECTION Ill - LIMITS OF INSURANCE                                              11
SECTION IV- COMMERCIAL GENERAL LIABILITY CONDITIONS                            11
1. Bankruptcy                                                                  11
2. Duties In The Event Of Occurrence, Offense, Claim Or Suit                   11
3. Legal Action Against Us                                                     12
4. Other Insurance                                                             12
   a. Primary Insurance                                                        12
   b. Excess Insurance                                                         12
   c. Method Of Sharing                                                        12
5. Premium Audit                                                               13
6. Representations                                                             13
7. Separation Of Insureds                                                      13
8. Transfer Of Rights Of Recovery Against Others To Us                         13
9. When We Do Not Renew                                                        13
SECTION V - DEFINITIONS                                                        13
1. '~dvertisement" _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 13
2. •~uto" _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 13
3. "Bodily irjury" _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 13
4. ''Coverage territory" _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 13
5. "Employee" _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 14
6. "Executive officer"_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 14
7. "Hostile fire"                                                              14
8. "Impaired
                   -----------------------------
               property"                                                       14
                         ---------------------------
9. "Insured contract" _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 14
10.   "Leased worker"                                                          14
11.   "Loading or unloading"                                                   14
12.   "Mobile equipment"                                                       15
13.   "Occurrence"                                                             15
14.   "Personal and advertising injury"                                        15
15.   "Pollutants"                                                             15
16.   "Products-completed operations hazard"                                   15




CG 00 01 TOC 0413                                                      Page 2of3
      Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 38 of 88


                           TABLE OF CONTENTS (CONT'D)

                                                                          Page No.
17. "Property damage" _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 16
18.   "Suit"                                                                   16
19.   "Temporary worker"                                                       16
20.   'Volunteer worker"                                                       16
21.   'Your product"                                                           16
n~~~~                                                                          11




CG 00 01 TOC 0413                                                      Page 3of3
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 39 of 88


                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 00 01 0413


          COMMERCIAL GENERAL LIABILITY COVERAGE FORM

Various provisions in this policy restrict coverage.                (1) The "bodily injury" or "property
Read the entire policy carefully to determine rights,                   damage" is caused by an "occurrence"
duties and what is and is not covered.                                  that takes place in the "coverage
                                                                        territory";
Throughout this policy the words "you" and "your"
refer to the Named Insured shown in the                             (2) The "bodily injury" or "property
Declarations, and any other person or organization                      damage" occurs during the policy
qualifying as a Named Insured under this policy.                        period; and
The words "we", "us" and "our" refer to the company
providing this insurance.                                           (3) Prior to the policy period, no insured
                                                                        listed under Paragraph 1. of Section II
The word ''Insured" means any person               or                   - Who Is An Insured and no
organization qualifying as such under Section     II -                  "employee" authorized by you to give
Who Is An Insured.                                                      or receive notice of an "occurrence" or
                                                                        claim, knew that the "bodily injury" or
Other words and phrases that appear in quotation                        "property damage" had occurred, in
marks have special meaning. Refer to Section V -                        whole or in part. If such a listed
Definitions.                                                            insured or authorized "employee"
                                                                        knew, prior to the policy period, that
SECTION I - COVERAGES
                                                                        the "bodily injury" or "property
COVERAGE A       BODILY INJURY                  AND                     damage"      occurred,     then    any
PROPERTY DAMAGE LIABILITY                                               continuation, change or resumption of
                                                                        such "bodily injury" or "property
1.   Insuring Agreement                                                 damage" during or after the policy
     a.   We will pay those sums that the insured                       period will be deemed to have been
          becomes legally obligated to pay as                           known prior to the policy period.
          damages because of "bodily injury" or                c.   "Bodily injury" or "property damage" which
          "property damage" to which this insurance                 occurs during the policy period and was
          applies. We will have the right and duty to               not, prior to the policy period, known to
          defend the insured against any "suit"                     have occurred by any insured listed under
          seeking those damages. However, we will                   Paragraph 1. of Section II - Who Is An
          have no duty to defend the insured against                Insured or any "employee" authorized by
          any "suit" seeking damages for "bodily                    you to give or receive notice of an
          injury" or "property damage" to which this                "occurrence" or claim, includes any
          insurance does not apply. We may, at our                  continuation, change or resumption of that
          discretion, investigate any "occurrence"                  'bodily injury" or "property damage" after
          and settle any daim or "suit" that may                    the end of the policy period.
          result. But:
                                                               d.   ''Bodily injury" or "property damage" will be
          (1) The amount we will pay for damages                    deemed to have been known to have
              is limited as described in Section Ill -              occurred at the earliest time when any
              Limits Of Insurance; and                              insured listed under Paragraph 1. of
          (2) Our right and duty to defend ends                     Section II - Who Is An Insured or any
              when we have used up the applicable                   "employee" authorized by you to give or
              limit of insurance in the payment of                  receive notice of an "occurrence" or daim:
              judgments or settlements under                        (1) Reports all, or any part, of the "bodily
              Coverages A or B or medical                               iriury" or "property damage" to us or
              expenses under Coverage C.                                any other insurer;
          No other obligation or liability to pay sums              (2) Receives a written or verbal demand
          or perform acts or services is covered                        or daim for damages because of the
          unless explicitly provided for under                          "bodily injury" or "property damage"; or
          Supplementary Payments - Coverages A
          and B.                                                    (3) Becomes aware by any other means
                                                                        that "bodily injury" or "property
     b.   This insurance applies to "bodily injury"                     damage" has occurred or has begun
          and "property damage" only if:                                to occur.


CG 00 01 0413                         © Insurance Services Office, Inc., 2012                     Page 1 of 17
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 40 of 88



     e.   Damages because of "bodily injury" include                (2) The furnishing of alcoholic beverages
          damages daimed by any person or                               to a person under the legal drinking
          organization for care, loss of services or                    age or under the influence of alcohol;
          death resulting at any time from the "bodily                  or
          injury".
                                                                    (3) Any statute, ordinance or regulation
2.   Exclusions                                                         relating to the sale, gift, distribution or
                                                                        use of alcoholic beverages.
     This insurance does not apply to:
                                                                    This exdusion applies even if the daims
     a.   Expected Or Intended Injury                               against any insured allege negligence or
          "Bodily injury" or "property damage"                      otherwrongdoing in:
          expected or intended from the standpoint                       (a) The        supervision,      hiring,
          of the insured. This exdusion does not                              employment,        training      or
          apply to "bodily injury" resulting from the                         monitoring of others by that
          use of reasonable force to protect persons                          insured; or
          or property.
                                                                         (b) Providing or failing to provide
     b.   Contractual Liability                                              transportation with respect to any
          "Bodily injury" or "property damage" for                           person that may be under the
          which the insured is obligated to pay                              influence of alcohol;
          damages by reason of the assumption of                    if the "occurrence" which caused the
          liability in a oontract or agreement. This                'bodily injury" or "property damage",
          exdusion does not apply to liability for                  involved that which is described in
          damages:                                                  Paragraph (1), (2) or (3) above.
          (1) That the insured would have in the                    However, this exclusion applies only if you
              absence of the oontract or agreement;                 are in the business of manufacturing,
              or                                                    distributing, selling, serving or furnishing
          (2) Assumed in a contract or agreement                    alcoholic beverages. For the purposes of
              that is an "insured oontract", provided               this exdusion, permitting a person to bring
              the "bodily injury" or "property                      alcoholic beverages on your premises, for
              damage" ocrurs subsequent to the                      consumption on your premises, whether or
              execution     of    the    oontract   or              not a fee is charged or a license is required
              agreement. Solely for the purposes of                 for such activity, is not by itself considered
              liability assumed in an ''Insured                     the business of selling, serving or
              contract", reasonable attorneys' fees                 furnishing alcoholic beverages.
              and necessary litigation expenses                d.   Workers' Compensation And Similar
              incurred by or for a party other than an              Laws
              insured are deemed to be damages
              because of "bodily injury" or "property               Any obligation of the insured under a
              damage", provided:                                    workers' compensation, disability benefits
                                                                    or unemployment compensation law or any
              (a) Liability to such party for, or for               similar law.
                  the cost of, that party's defense
                  has also been assumed in the                 e.   Employer's Liability
                  same "insured contract"; and
                                                                    "Bodily iljury" to:
              (b) Such attorneys' fees and litigation
                   expenses are for defense of that                 (1) An "employee" of the insured arising
                   party against a civil or alternative                 out of and in the course of:
                   dispute resolution proceeding in                      (a) Employment by the insured; or
                   which damages to which this
                   insurance applies are alleged.                        (b) Performing duties related to the
                                                                             conduct of the insured's business;
     c.   Liquor Liability                                                   or
          ''Bodily injury" or "property damage" for                 (2) The spouse, child, parent, brother or
          which any insured may be held liable by                       sister of that "employee" as a
          reason of:                                                    consequence of Paragraph (1) above.
          (1) Causing or contributing         to   the              This exdusion applies whether the insured
              intoxication of any person;                           may be liable as an employer or in any
                                                                    other capacity and to any obligation to
                                                                    share damages with or repay someone

CG 00 01 0413                         © Insurance Services Office, Inc., 2012                       Page 2of 17
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 41 of 88



        else who must pay damages because of                              treated, disposed of, or processed
        the injury.                                                       as waste by or for:
        This exclusion does not apply to liability                        (i)   Any insured; or
        assumed by the insured under an "insured
        contract".                                                        (ii) Any person or organization
                                                                               for whom you may be legally
   f.   Pollution                                                              responsible; or
        (1) "Bodily injury" or "property damage"                      (d) At or from any premises, site or
            arising out of the actual, alleged or                         location on which any insured or
            threatened       disdlarge, dispersal,                        any contractors or subcontractors
            seepage, migration, release or escape                         working directly or indirectly on
            of "pollutants":                                              any     insured's    behalf   are
                                                                          performing operations if the
            (a) At or from any premises, site or                          "pollutants" are brought on or to
                location which is or was at any                           the premises, site or location in
                time owned or occupied by, or                             connection with such operations
                rented or loaned to, any insured.                         by such insured, contractor or
                However, this subparagraph does                           subcontractor.    However,    this
                not apply to:                                             subparagraph does not apply to:
                (i)   ''Bodily injury" if sustained                       (i)   "Bodily injury" or "property
                      within a building and caused                              damage" arising out of the
                      by smoke, fumes, vapor or                                 escape of fuels, lubricants or
                      soot     produced     by    or                            other operating fluids which
                      originating from equipment                                are needed to perform the
                      that is used to heat, cool or                             normal electrical, hydraulic or
                      dehumidify the building, or                               mechanical             functions
                      equipment that is used to                                 necessary for the operation
                      heat water for personal use,                              of ''mobile equipment" or its
                      by the building's occupants or                            parts, if such fuels, lubricants
                      their guests;                                             or other operating fluids
                (ii) ''Bodily injury" or "property                              escape from a vehicle part
                     damage" for which you may                                  designed to hold, store or
                     be held liable, if you are a                               receive them. This exception
                     contractor and the owner or                                does not apply if the "bodily
                     lessee of such premises, site                              injury" or ''property damage"
                     or location has been added to                              arises out of the intentional
                     your policy as an additional                               disdlarge,      dispersal      or
                     insured with respect to your                               release     of     the     fuels,
                     ongoing            operations                              lubricants or other operating
                     performed for that additional                              fluids, or if such fuels,
                     insured at that premises, site                             lubricants or other operating
                     or     location   and    sudl                              fluids are brought on or to the
                     premises, site or location is                              premises, site or location with
                     not and never was owned or                                 the intent that they be
                     occupied by, or rented or                                  disdlarged,     dispersed or
                     loaned to, any insured, other                              released as part of the
                     than that additional insured;                              operations being performed
                     or                                                         by such insured, contractor or
                                                                                subcontractor;
                (iii) ''Bodily injury" or "property
                      damage" arising out of heat,                        (ii) "Bodily injury" or "property
                      smoke or fumes from a                                    damage" sustained within a
                      'hostile fire";                                          building and caused by the
                                                                               release of gases, fumes or
            (b) At or from any premises, site or                               vapors     from     materials
                location which is or was at any                                brought into that building in
                time used by or for any insured or                             connection with operations
                others for the handling, storage,                              being performed by you or on
                disposal, processing or treatment                              your behalf by a contractor or
                of waste;                                                      subcontractor; or
            (c) Which are or were at any time                             (iii) ''Bodily injury" or "property
                transported, handled,  stored,                                  damage" arising out of heat,

CG 00 01 0413                       © Insurance Services Office, Inc., 2012                       Page 3of 17
            Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 42 of 88



                      smoke or fumes        from   a               owned or operated by or rented or loaned
                      "hostile fire".                              to any insured.
            (e) At or from any premises, site or                   This exclusion does not apply to:
                location on which any insured or
                any contractors or subcontractors                  (1) A watercraft while ashore on premises
                working directly or indirectly on                      you own or rent;
                any     insured's      behalf   are                (2) A watercraft you do not own that is:
                performing operations if the
                operations are to test for, monitor,                   (a) Less than 26 feet long; and
                clean up, remove, contain, treat,
                detoxify or neutralize, or in any                      (b) Not being used to carry persons
                way respond to, or assess the                              or property for a charge;
                effects of, "pollutants".                          (3) Parking an "auto" on, or on the ways
        (2) Any loss, cost or expense arising out                      next to, premises you own or rent,
            of any:                                                    provided the "auto" is not owned by or
                                                                       rented or loaned to you or the insured;
            (a) Request, demand, order or
                statutory        or       regulatory               (4) Liability assumed under any "insured
                requirement that any insured or                        contract"      for the    ownership,
                others test for, monitor, dean up,                     maintenance or use of aircraft or
                remove, contain, treat, detoxify or                    watercraft; or
                neutralize, or in any way respond                  (5) "Bodily injury" or "property damage"
                to, or assess the effects of,                          arising out of:
                "pollutants"; or
                                                                       (a) The operation of machinery or
            (b) Claim or suit by or on behalf of a                         equipment that is attached to, or
                governmental      authority    for                         part of, a land vehicle that would
                damages because of testing for,                            qualify under the definition of
                monitoring,      deaning       up,                         ''mobile equipment" if it were not
                removing, containing, treating,                            subject to a compulsory or
                detoxifying or neutralizing, or in                         financial responsibility law or
                any way responding to, or                                  other motor vehicle insurance law
                assessing     the    effects    of,                        where it is licensed or principally
                "pollutants".                                              garaged; or
            However, this paragraph does not                             (b) The operation of any of the
            apply to liability for damages because                           machinery or equipment listed in
            of "property damage" that the insured                            Paragraph f.(2) or f.(3) of the
            would have in the absence of such                                definition of "mobile equipment''.
            request, demand, order or statutory or
            regulatory requirement, or such daim              h.   Mobile Equipment
            or "suit'' by or on behalf of a
            governmental authority.                                ''Bodily injury" or "property damage" arising
                                                                   out of:
   g.   Aircraft, Auto Or Watercraft
                                                                   (1) The     transportation    of   "mobile
        ''Bodily injury" or "property damage" arising                  equipment" by an "auto" owned or
        out of the ownership, maintenance, use or                      operated by or rented or loaned to any
        entrustment to others of any aircraft, "auto"                  insured; or
        or watercraft owned or operated by or
        rented or loaned to any insured. Use                       (2) The use of ''mobile equipment" in, or
        includes operation and "loading or                             while in practice for, or while being
        unloading".                                                    prepared for, any prearranged racing,
                                                                       speed, demolition, or stunting activity.
        This exdusion applies even if the daims
        against any insured allege negligence or              i.   War
        other wrongdoing in the supervision, hiring,               ''Bodily injury" or "property damage",
        employment, training or monitoring of                      however caused, arising, directly or
        others by that insured, if the "oCa.Jrrence"               indirectly, out of:
        which caused the "bodily injury" or
        "property damage" involved the ownership,                  (1) War, including undeclared or civil war;
        maintenance, use or entrustment to others
        of any aircraft, "auto" or watercraft that is              (2) Warlike action by a military force,
                                                                       including action in hindering or
                                                                       defending against an actual or

CG 00 01 0413                        © Insurance Services Office, Inc., 2012                     Page 4of 17
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 43 of 88



            expected attack, by any government,                     Paragraph (6) of this exclusion does not
            sovereign or other authority using                      apply to "property damage" included in the
            military personnel or other agents; or                  "products-completed operations hazard".
        (3) Insurrection,  rebellion,   revolution,            k.   Damage To Your Product
            usurped power, or action taken by
            governmental authority in hindering or                  'Property damage" to "your             product"
            defending against any of these.                         arising out of it or any part of it.

   j.   Damage To Property                                     I.   Damage To Your Work

        "Property damage" to:                                       'Property damage" to "your work" arising
                                                                    out of it or any part of it and included in the
        (1) Property you own, rent, or occupy,                      "products-completed operations hazard".
            including any costs or expenses
            incurred by you, or any other person,                   This exclusion does not apply if the
            organization or entity, for repair,                     damaged work or the work out of which the
            replacement,           enhancement,                     damage arises was performed on your
            restoration or maintenance of such                      behalf by a subcontractor.
            property for any reason, including                 m. Damage To Impaired Property                   Or
            prevention of injury to a person or                   Property Not Physically Injured
            damage to another's property;
                                                                    'Property damage" to "impaired property"
        (2) Premises you sell, give away or                         or property that has not been physically
            abandon, if the "property damage"                       injured, arising out of:
            arises out of any part of those
            premises;                                               (1) A defect, deficiency, inadequacy or
                                                                        dangerous condition in "your product"
        (3) Property loaned to you;                                     or "your work"; or
        (4) Personal property in the care, rustody                  (2) A delay or failure by you or anyone
            or control of the insured;                                  acting on your behalf to perform a
        (5) That particular part of real property on                    contract or agreement in accordance
            which you or any contractors or                             with its terms.
            subcontractors working directly or                      This exclusion does not apply to the loss of
            indirectly  on    your     behalf are                   use of other property arising out of sudden
            perfonning operations, if the "property                 and accidental physical injury to "your
            damage"     arises    out     of those                  product" or "your work" after it has been
            operations; or                                          put to its intended use.
        (6) That particular part of any property               n.   Recall Of Products, Work Or Impaired
            that must be restored, repaired or                      Property
            replaced because "your work" was
            incorrectly performed on it.                            Damages claimed for any loss, cost or
                                                                    expense incurred by you or others for the
        Paragraphs (1 ), (3) and (4) of this                        loss of use, withdrawal, recall, inspection,
        exclusion do not apply to "property                         repair, replacement, adjustment, removal
        damage" (other than damage by fire) to                      or disposal of:
        premises, including the contents of such
        premises, rented to you for a period of                     (1) "Your product";
        seven or fewer consecutive days. A
        separate limit of insurance applies to                      (2) "Your work"; or
        Damage To Premises Rented To You as                         (3) "Impaired property";
        described in Section Ill - Limits Of
        Insurance.                                                  if such product, work, or property is
                                                                    withdrawn or recalled from the market or
        Paragraph (2) of this exclusion does not                    from use by any person or organization
        apply if the premises are "your work" and                   because of a known or suspected defect,
        were never occupied, rented or held for                     deficiency, inadequacy or dangerous
        rental by you.                                              condition in it.
        Paragraphs (3), (4), (5) and (6) of this               o.   Personal And Advertising Injury
        exclusion do not apply to liability assumed
        under a sidetrack agreement.                                ''Bodily injury" arising out of "personal and
                                                                    advertising injury".



CG 00 01 0413                         © Insurance Services Office, Inc., 2012                       Page 5of 17
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 44 of 88



     p.   Electronic Data                                            damages because of "personal and
                                                                     advertising injury" to which this insurance
          Damages arising out of the loss of, loss of                applies. We will have the right and duty to
          use of, damage to, corruption of, inability to             defend the insured against any "suit"
          access, or inability to manipulate electronic              seeking those damages. However, we will
          data.                                                      have no duty to defend the insured against
          However, this exdusion does not apply to                   any "suit" seeking damages for "personal
          liability for damages because of "bodily                   and advertising injury" to which this
          injury".                                                   insurance does not apply. We may, at our
                                                                     discretion, investigate any offense and
          As used in this exdusion, electronic data                  settle any daim or "suit'' that may result.
          means information, facts or programs                       But:
          stored as or on, created or used on, or
          transmitted to or from computer software,                  (1) The amount we will pay for damages
          including    systems      and    applications                  is limited as described in Section Ill -
          software, hard or floppy disks, CD-ROMs,                       Limits Of Insurance; and
          tapes, drives, cells, data processing                      (2) Our right and duty to defend end when
          devices or any other media which are used                      we have used up the applicable limit of
          with electronically controlled equipment.                      insurance in the payment of judgments
     q.   Recording And Distribution Of Material                         or settlements under Coverages A or
          Or lnfonnation In Violation Of Law                             B or medical expenses under
                                                                         Coverage C.
          ''Bodily injury" or "property damage" arising
          directly or indirectly out of any action or                No other obligation or liability to pay sums
          omission that violates or is alleged to                    or perform acts or services is covered
          violate:                                                   unless explicitly provided for under
                                                                     Supplementary Payments - Coverages A
          (1) The Telephone Consumer Protection                      and B.
              Act (TCPA), induding any amendment
              of or addition to such law;                       b.   This insurance applies to "personal and
                                                                     advertising injury" caused by an offense
          (2) The CAN-SPAM Act of 2003, including                    arising out of your business but only if the
              any amendment of or addition to such                   offense was committed in the "coverage
              law;                                                   territory" during the policy period.
          (3) The Fair Credit Reporting Act (FCRA),        2.   Exclusions
              and any amendment of or addition to
              such law, including the Fair and                  This insurance does not apply to:
              Accurate Credit Transactions Act                  a.   Knowing Violation Of Rights Of Another
              (FACTA); or
                                                                     'Personal and advertising injury" caused by
          (4) Any federal, state or local statute,                   or at the direction of the insured with the
              ordinance or regulation, other than the                knowledge that the act would violate the
              TCPA, CAN-SPAM Act of 2003 or                          rights of another and would inflict "personal
              FCRA and their amendments and                          and advertising injury".
              additions, that addresses, prohibits, or
              limits the printing, dissemination,               b.   Material Published With Knowledge Of
              disposal,       collecting,    recording,              Falsity
              sending, transmitting, communicating
              or    distribution     of   material   or              "Personal and advertising injury" arising
              information.                                           out of oral or written publication, in any
                                                                     manner, of material, if done by or at the
     Exdusions c. through n. do not apply to                         direction of the insured with knowledge of
     damage by fire to premises while rented to you                  its falsity.
     or temporarily occupied by you with permission
     of the owner. A separate limit of insurance                c.   Material    Published   Prior To      Policy
     applies to this coverage as described in Section                Period
     Ill - Limits Of Insurance.                                      'Personal and advertising injury" arising
COVERAGE B - PERSONAL AND ADVERTISING                                out of oral or written publication, in any
INJURY LIABILITY                                                     manner, of material whose first publication
                                                                     took place before the beginning of the
1.   Insuring Agreement                                              policy period.
     a.   We will pay those sums that the insured
          becomes legally obligated to pay as

CG 00 01 0413                          © Insurance Services Office, Inc., 2012                      Page 6 of 17
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 45 of 88



   d.   Criminal Acts                                                However, this exdusion does not apply to
                                                                     Paragraphs 14.a., b. and c. of "personal
        ''Personal and advertising injury" arising                   and     advertising  injury" under   the
        out of a criminal act CX)mmitted by or at the                Definitions section.
        direction of the insured.
                                                                     For the purposes of this exclusion, the
   e.   Contractual Liability                                        placing of frames, borders or links, or
        ''Personal and advertising injury" for which                 advertising, for you or others anywhere on
        the insured has assumed liability in a                       the Internet, is not by itself, CX)nsidered the
        contract or agreement. This exdusion does                    business of advertising, broadcasting,
        not apply to liability for damages that the                  publishing or telecasting.
        insured would have in the absence of the                k.   Electronic     Chatrooms        Or    Bulletin
        contract or agreement.                                       Boards
   f.   Breach Of Contract                                           ''Personal and advertising injury" arising
        "Personal and advertising injury" arising                    out of an electronic chatroom or bulletin
        out of a breach of contract, except an                       board the insured hosts, owns, or over
        implied    CX)ntract   to   use    another's                 which the insured exercises control.
        advertising idea in your "advertisement".               I.   Unauthorized Use Of Another's Name Or
   g.   Quality Or Performance Of Goods -                            Product
        Failure To Conform To Statements                             ''Personal and advertising injury" arising
        "Personal and advertising injury" arising                    out of the unauthorized use of another's
        out of the failure of goods, products or                     name or product in your e-mail address,
        services to CX)nform with any statement of                   domain name or metatag, or any other
        quality or performance made in your                          similar tactics to mislead another's
        "advertisement''.                                            potential rustomers.

   h.   Wrong Description Of Prices                             m. Pollution

        "Personal and advertising injury" arising                    ''Personal and advertising injury" arising
        out of the wrong description of the price of                 out of the actual, alleged or threatened
        goods, products or services stated in your                   discharge, dispersal, seepage, migration,
        "advertisement".                                             release or escape of "pollutants" at any
                                                                     time.
   i.   Infringement Of Copyright,            Patent,
        Trademark Or Trade Secret                               n.   Pollution-related

        "Personal and advertising injury" arising                    Any loss, cost or expense arising out of
        out of the infringement of CX)pyright, patent,               any:
        trademark, trade secret or other intellectual                (1) Request, demand, order or statutory or
        property rights. Under this exdusion, such                         regulatory requirement that any
        other intellectual property rights do not                          insured or others test for, monitor,
        include the use of another's advertising                           clean up, remove, contain, treat,
        idea in your "advertisement".                                      detoxify or neutralize, or in any way
        However, this exdusion does not apply to                           respond to, or assess the effects of,
        infringement, in your "advertisement", of                          "pollutants"; or
        copyright, trade dress or slogan.                            (2) Claim or suit by or on behalf of a
   j.   lnsu_reds In Media And Internet Type                               governmental authority for damages
        Businesses                                                         because of testing for, monitoring,
                                                                           cleaning up, removing, containing,
        "Personal   and    advertising  injury"                            treating, detoxifying or neutralizing, or
        committed by an insured whose business                             in any way responding to, or assessing
        is:                                                                the effects of, "pollutants".
        (1) Advertising, broadcasting, publishing               o.   War
            or telecasting;
                                                                     "Personal and advertising injury", however
        (2) Designing or determining content of                      caused, arising, directly or indirectly, out of:
            web sites for others; or
                                                                     (1) War, including undeclared or civil war;
        (3) An Internet search, access, CX)ntent or
            service provider.                                        (2) Warlike action by a military force,
                                                                           including action in hindering          or
                                                                           defending against an actual            or

CG 00 01 0413                          © Insurance Services Office, Inc., 2012                       Page 7 of 17
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 46 of 88



              expected attack, by any government,                             physicians of our choice as often
              sovereign or other authority using                              as we reasonably require.
              military personnel or other agents; or
                                                                b.   We will make these payments regardless
          (3) Insurrection,  rebellion,   revolution,                of fault. These payments will not exceed
              usurped power, or action taken by                      the applicable limit of insurance. We will
              governmental authority in hindering or                 pay reasonable expenses for:
              defending against any of these.
                                                                     (1) First aid administered at the time of an
     p.   Recording And Distribution Of Material                         accident;
          Or lnfonnation In Violation Of Law
                                                                     (2) Necessary medical, surgical, X-ray
          "Personal and advertising injury" arising                      and    dental     services, including
          directly or indirectly out of any action or                    prosthetic devices; and
          omission that violates or is alleged to
          violate:                                                   (3) Necessary      ambulance,  hospital,
                                                                         professional   nursing and funeral
          (1) The Telephone Consumer Protection                          services.
              Act (TCPA), including any amendment
              of or addition to such law;                  2.   Exclusions

          (2) The CAN-SPAM Act of 2003, including               We will not pay expenses for "bodily injury":
              any amendment of or addition to such              a.   Any Insured
              law;
                                                                     To any      insured,    except    "volunteer
          (3) The Fair Credit Reporting Act (FCRA),                  workers".
              and any amendment of or addition to
              such law, including the Fair and                  b.   Hired Person
              Accurate Credit Transactions Act
              (FACTA); or                                            To a person hired to do work for or on
                                                                     behalf of any insured or a tenant of any
          (4) Any federal, state or local statute,                   insured.
              ordinance or regulation, other than the
              TCPA, CAN-SPAM Act of 2003 or                     c.   Injury On Nonnally Occupied Premises
              FCRA and their amendments and                          To a person injured on that part of
              additions, that addresses, prohibits, or               premises you own or rent that the person
              limits the printing, dissemination,                    normally ocaJpies.
              disposal,       collecting,    recording,
              sending, transmitting, communicating              d.   Workers' Compensation And           Similar
              or    distribution     of   material   or              Laws
              information.
                                                                     To a person, whether or not an "employee"
COVERAGE C - MEDICAL PAYMENTS                                        of any insured, if benefits for the "bodily
                                                                     injury" are payable or must be provided
1.   Insuring Agreement                                              under a workers' compensation or disability
     a.   We will pay medical expenses as                            benefits law or a similar law.
          described below for "bodily injury" caused            e.   Athletics Activities
          by an accident:
                                                                     To a person injured while practicing,
          (1) On premises you own or rent;                           instructing or participating in any physical
          (2) On ways next to premises you own or                    exercises or games, sports, or athletic
              rent; or                                               contests.

          (3) Because of your operations;                       f.   Products-Completed Operations Hazard

          provided that:                                             Included within the "products-completed
                                                                     operations hazard".
              (a) The accident takes place in the
                  "coverage territory" and during the           g.   Coverage A Exclusions
                  policy period;                                     Exduded under Coverage A.
              (b) The expenses are incurred and            SUPPLEMENTARY PAYMENTS - COVERAGES A
                   reported to us within one year of       ANDB
                   the date of the accident; and
                                                           1.   We will pay, with respect to any daim we
              (c) The injured person submits to                 investigate or settle, or any "suit'' against an
                   examination, at our expense, by              insured we defend:

CG 00 01 0413                          © Insurance Services Office, Inc., 2012                     Page 8 of 17
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 47 of 88



     a.   All expenses we incur.                                    the insured and the         interests of the
                                                                    indemnitee;
     b.   Up to $250 for cost of bail bonds required
          because of accidents or traffic law                  e.   The indemnitee and the insured ask us to
          violations arising out of the use of any                  conduct and control the defense of that
          vehicle to which the Bodily Injury Liability              indemnitee against such "suit'' and agree
          Coverage applies. We do not have to                       that we can assign the same counsel to
          furnish these bonds.                                      defend the insured and the indemnitee;
                                                                    and
     c. The cost of bonds to release attachments,
          but only for bond amounts within the                 f.   The indemnitee:
          applicable limit of insurance. We do not
          have to furnish these bonds.                              (1) Agrees in writing to:
     d.   All reasonable expenses incurred by the                        (a) Cooperate with         us in     the
          insured at our request to assist us in the                         investigation,    settlement      or
          investigation or defense of the daim or                            defense of the "suit";
          "suit", induding actual loss of earnings up                    (b) Immediately send us copies of
          to $250 a day because of time off from                             any      demands,       notices,
          work.                                                              summonses or legal papers
     e.   All court costs taxed against the insured in                       received in connection with the
          the "suit". However, these payments do not                         "suit";
          include attorneys' fees or attorneys'                          (c) Notify any other insurer whose
          expenses taxed against the insured.                                coverage is available       to   the
     f.   Prejudgment interest awarded against the                           indemnitee; and
          insured on that part of the judgment we                        (d) Cooperate with us with respect to
          pay. If we make an offer to pay the                                coordinating   other   applicable
          applicable limit of insurance, we will not                         insurance    available   to   the
          pay any prejudgment interest based on that                         indemnitee; and
          period of time after the offer.
                                                                    (2) Provides us with written authorization
     g.   All interest on the full amount of any                        to:
          judgment that accrues after entry of the
          judgment and before we have paid, offered                      (a) Obtain    records    and    other
          to pay, or deposited in court the part of the                      information related to the "suit'';
          judgment that is within the applicable limit                       and
          of insurance.
                                                                         (b) Conduct and control the defense
     These payments will not reduce the limits of                            of the indemnitee in such "suit".
     insurance.
                                                                So long as the above conditions are met,
2.   If we defend an insured against a "suit" and an            attorneys' fees incurred by us in the defense of
     indemnitee of the insured is also named as a               that indemnitee, necessary litigation expenses
     party to the "suit'', we will defend that                  incurred by us and necessary litigation
     indemnitee if all of the following conditions are          expenses incurred by the indemnitee at our
     met:                                                       request will be paid as Supplementary
                                                                Payments. Notwithstanding the provisions of
     a.   The "suit" against the indemnitee seeks               Paragraph 2.b.(2) of Section I - Coverage A -
          damages for which the insured has                     Bodily Injury And Property Damage Liability,
          assumed the liability of the indemnitee in a          such payments will not be deemed to be
          contract or agreement that is an "insured             damages for 'bodily injury" and "property
          contract";                                            damage" and will not reduce the limits of
     b.   This insurance applies to such liability              insurance.
          assumed by the insured;                               Our obligation to defend an insured's
     c.   The obligation to defend, or the cost of the          indemnitee and to pay for attorneys' fees and
          defense of, that indemnitee, has also been            necessary       litigation    expenses        as
          assumed by the insured in the same                    Supplementary Payments ends when we have
          ''Insured contract";                                  used up the applicable limit of insurance in the
                                                                payment of judgments or settlements or the
     d.   The allegations in the "suit" and the                 conditions set forth above, or the terms of the
          information   we    know    about     the             agreement described in Paragraph f. above,
          "occurrence" are such that no conflict                are no longer met.
          appears to exist between the interests of


CG 00 01 0413                          © Insurance Services Office, Inc., 2012                     Page 9of17
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 48 of 88



SECTION 11- WHO IS AN INSURED                                             (b) To the spouse, dlild, parent,
                                                                              brother or sister of that co-
1.   If you are designated in the Declarations as:                            "employee" or "volunteer worker"
     a.   An individual, you and your spouse are                              as a consequence of Paragraph
          insureds, but only with respect to the                              (1)(a) above;
          conduct of a business of which you are the                      (c) For which there is any obligation
          sole owner.                                                          to share damages with or repay
     b. A partnership or joint venture, you are an                             someone else who must pay
          insured. Your members, your partners, and                            damages because of the injury
          their spouses are also insureds, but only                            described in Paragraph (1)(a) or
          with respect to the conduct of your                                  (b) above; or
          business.                                                       (d) Arising out of his or her providing
     c.   A limited liability company, you are an                             or failing to provide professional
          insured. Your members are also insureds,                            health care services.
          but only with respect to the conduct of your                (2) "Property damage" to property:
          business. Your managers are insureds, but
          only with respect to their duties as your                       (a) Owned, occupied or used by;
          managers.
                                                                          (b) Rented to, in the care, custody or
     d.   An organization other than a partnership,                           control of, or over which physical
          joint venture or limited liability company,                         control is being exercised for any
          you are an insured. Your "executive                                 purpose by;
          officers" and directors are insureds, but
          only with respect to their duties as your                       you, any of your "employees",
          officers or directors. Your stockholders are                    ''volunteer workers", any partner or
          also insureds, but only with respect to their                   member (if you are a partnership or
           liability as stockholders.                                     joint venture), or any member (if you
                                                                          are a limited liability company).
     e.   A trust, you are an insured. Your trustees
          are also insureds, but only with respect to            b. Any person (other than your "employee" or
          their duties as trustees.                                   ''volunteer worker"), or any organization
                                                                      while acting as your real estate manager.
2.   Each of the following is also an insured:
                                                                 c. Any person or organization having proper
     a.   Your "volunteer workers" only while                         temporary custody of your property if you
          performing duties related to the conduct of                 die, but only:
          your business, or your "employees", other
          than either your "executive officers" (if you               (1) With respect to liability arising out of
          are an organization other than a                                the maintenance or use of that
          partnership, joint venture or limited liability                 property; and
          company) or your managers (if you are a                     (2) Until your legal representative has
          limited liability company), but only for acts                   been appointed.
          within the scope of their employment by
          you or while performing duties related to              d.   Your legal representative if you die, but
          the conduct of your business. However,                      only with respect to duties as such. That
          none of these "employees" or "volunteer                     representative will have all your rights and
          workers" are insureds for:                                  duties under this Coverage Part.
          (1) "Bodily injury" or       "personal     and    3.   Any organization you newly acquire or form,
              advertising injury":                               other than a partnership, joint venture or limited
                                                                 liability company, and over which you maintain
               (a) To you, to your partners or                   ownership or majority interest, will qualify as a
                   members (if you are a partnership             Named Insured if there is no other similar
                   or joint venture), to your members            insurance available to that organization.
                   (if you are a limited liability               However:
                   company), to a co-"employee"
                   while in the course of his or her             a.   Coverage under this provision is afforded
                   employment or performing duties                    only until the 90th day after you acquire or
                   related to the conduct of your                     form the organization or the end of the
                   business, or to your other                         policy period, whichever is earlier;
                   ''volunteer     workers"      while
                   performing duties related to the              b.   Coverage A does not apply to "bodily
                   conduct of your business;                          injury" or "property damage" that occurred



CG 00 01 0413                           © Insurance Services Office, Inc., 2012                    Page 10 of 17
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 49 of 88



          before you acquired       or   formed   the          temporarily occupied by you with permission of
          organization; and                                    the owner.
     c.   Coverage B does not apply to "personal          7.   Subject to Paragraph 5. above, the Medical
          and advertising injury" arising out of an            Expense Limit is the most we will pay under
          offense committed before you acquired or             Coverage C for all medical expenses because
          fanned the organization.                             of 'bodily injury" sustained by any one person.
 No person or organization is an insured with respect     The Limits of Insurance of this Coverage Part apply
 to the oonduct of any current or past partnership,       separately to each oonsecutive annual period and to
joint venture or limited liability oompany that is not    any remaining period of less than 12 months,
 shown as a Named Insured in the Declarations.            starting with the beginning of the policy period
                                                          shown in the Dedarations, unless the policy period
SECTION Ill - LIMITS OF INSURANCE                         is extended after issuance for an additional period of
1.   The Limits of Insurance shown in the                 less than 12 months. In that case, the additional
     Declarations and the rules below fix the most        period will be deemed part of the last preceding
     we will pay regardless of the number of:             period for purposes of determining the Limits of
                                                          Insurance.
     a.   Insureds;
                                                          SECTION IV        COMMERCIAL              GENERAL
     b.   Claims made or "suits" brought; or              LIABILITY CONDITIONS
     c.   Persons or organizations making claims or       1.   Bankruptcy
          bringing "suits".
                                                               Bankruptcy or insolvency of the insured or of
2.   The General Aggregate Limit is the most we will           the insured's estate will not relieve us of our
     pay for the sum of:                                       obligations under this Coverage Part.
     a.   Medical expenses under Coverage C;              2.   Duties In The Event Of Occurrence, Offense,
                                                               Claim Or Suit
     b.   Damages under Coverage A, except
          damages because of "bodily injury" or                a.   You must see to it that we are notified as
          "property damage" included in the                         soon as practicable of an "occurrence" or
          "products-completed operations hazard";                   an offense which may result in a claim. To
          and                                                       the extent possible, notice should include:
     c.   Damages under Coverage B.                                 (1) How,    when      and     where     the
                                                                        "occurrence" or offense took place;
3.   The Products-Completed Operations Aggregate
     Limit is the most we will pay under Coverage A                 (2) The names and addresses of any
     for damages because of "bodily injury" and                         injured persons and witnesses; and
     "property damage" included in the "products-
     completed operations hazard".                                  (3) The nature and location of any injury
                                                                        or damage arising out of the
4.   Subject to Paragraph 2. above, the Personal                        "occurrence" or offense.
     And Advertising Injury Limit is the most we will
     pay under Coverage B for the sum of all                   b.   If a claim is made or "suit" is brought
     damages because of all "personal and                           against any insured, you must:
     advertising injury" sustained by any one person                (1) Immediately record the specifics of the
     or organization.                                                   claim or "suit" and the date received;
5.   Subject to Paragraph 2. or 3. above, whichever                     and
     applies, the Each Occurrence Limit is the most                 (2) Notify us as soon as practicable.
     we will pay for the sum of:
                                                                    You must see to it that we receive written
     a.   Damages under Coverage A; and                             notice of the daim or "suit'' as soon as
     b.   Medical expenses under Coverage C                         practicable.

     because of all "bodily injury" and "property              c.   You and any other involved insured must:
     damage" arising out of any one "occurrence".                   (1) Immediately send us oopies of any
6.   Subject to Paragraph 5. above, the Damage To                       demands, notices, summonses or
     Premises Rented To You Limit is the most we                        legal papers received in connection
     will pay under Coverage A for damages                              with the claim or "suit";
     because of "property damage" to any one                        (2) Authorize us to obtain reoords and
     premises, while rented to you, or in the case of                   other information;
     damage by fire, while rented to you or


CG 0001 0413                          © Insurance Services Office, Inc., 2012                   Page 11 of 17
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 50 of 88



          (3) Cooperate with us in the investigation                         (iij That is Fire insurance for
              or settlement of the claim or defense                               premises rented to you or
              against the "suit"; and                                             temporarily occupied by you
                                                                                  with permission of the owner;
          (4) Assist us, upon our request, in the
              enforcement of any right against any                           (iiij That is insurance purchased
              person or organization which may be                                  by you to cover your liability
              liable to the insured because of injury                              as a tenant for "property
              or damage to which this insurance                                    damage" to premises rented
              may also apply.                                                      to   you     or    temporarily
                                                                                   occupied    by     you   with
     d.   No insured will, except at that insured's                                permission of the owner; or
          own cost, voluntarily make a payment,
          assume any obligation, or incur any                                (iv) If the loss arises out of the
          expense, other than for first aid, without our                          maintenance or use of
          consent.                                                                aircraft, "autos" or watercraft
                                                                                  to the extent not subject to
3.   Legal Action Against Us                                                      Exdusion g. of Section I -
     No person or organization has a right under this                             Coverage A - Bodily Injury
     Coverage Part:                                                               And        Property   Damage
                                                                                  Liability.
     a.   To join us as a party or otherwise bring us
          into a "suit" asking for damages from an                       (b) Any   other primary insurance
          insured; or                                                        available to you covering liability
                                                                             for damages arising out of the
     b.   To sue us on this Coverage Part unless all                         premises or operations, or the
          of its terms have been fully complied with.                        products      and      completed
                                                                             operations, for which you have
     A person or organization may sue us to recover                          been added as an additional
     on an agreed settlement or on a final judgment                          insured.
     against an insured; but we will not be liable for
     damages that are not payable under the terms                    (2) When this insurance is excess, we will
     of this Coverage Part or that are in excess of                      have no duty under Coverages A or B
     the applicable limit of insurance. An agreed                        to defend the insured against any
     settlement means a settlement and release of                        "suit" if any other insurer has a duty to
     liability signed by us, the insured and the                         defend the insured against that "suit".
     claimant or the claimant's legal representative.                    If no other insurer defends, we will
                                                                         undertake to do so, but we will be
4.   Other Insurance                                                     entitled to the insured's rights against
     If other valid and collectible insurance is                         all those other insurers.
     available to the insured for a loss we cover                    (3) When this insurance is excess over
     under Coverages A or B of this Coverage Part,                       other insurance, we will pay only our
     our obligations are limited as follows:                             share of the amount of the loss, if any,
     a.   Primary Insurance                                              that exceeds the sum of:

          This insurance is primary except when                          (a) The total amount that all such
          Paragraph b. below applies. If this                                 other insurance would pay for the
          insurance is primary, our obligations are                           loss in the absence of this
          not affected unless any of the other                                insurance; and
          insurance is also primary. Then, we will                       (b) The total of all deductible and
          share with all that other insurance by the                          self-insured amounts under all
          method described in Paragraph c. below.                             that other insurance.
     b.   Excess Insurance                                           (4) We will share the remaining loss, if
          (1) This insurance is excess over:                             any, with any other insurance that is
                                                                         not described in this Excess Insurance
              (a) Any    of the other insurance,                         prov1s1on and was not bought
                   whether      primary,      excess,                    specifically to apply in excess of the
                   contingent or on any other basis:                     Limits of Insurance shown in the
                                                                         Declarations of this Coverage Part.
                   (i)   That     is  Fire,  Extended
                         Coverage, Builder's Risk,              c.   Method Of Sharing
                         Installation Risk or similar
                         coverage for "your work";                   If all of the other insurance permits
                                                                     contribution by equal shares, we will follow

CG 00 01 0413                          © Insurance Services Office, Inc., 2012                    Page 12 of 17
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 51 of 88



          this method also. Under this approach                 Coverage Part, those rights are transferred to
          each insurer contributes equal amounts                us. The insured must do nothing after loss to
          until it has paid its applicable limit of             impair them. At our request, the insured will
          insurance or none of the loss remains,                bring "suit" or transfer those rights to us and
          whichever oomes first.                                help us enforce them.
          If any of the other insurance does not           9.   When We Do Not Renew
          permit contribution by equal shares, we will
          contribute by limits. Under this method,              If we decide not to renew this Coverage Part,
          each insurer's share is based on the ratio            we will mail or deliver to the first Named Insured
          of its applicable limit of insurance to the           shown in the Dedarations written notice of the
          total applicable limits of insurance of all           nonrenewal not less than 30 days before the
          insurers.                                             expiration date.

5.   Premium Audit                                              If notice is mailed, proof of mailing will be
                                                                sufficient proof of notice.
     a.   We will compute all premiums for this
          Coverage Part in accordance with our rules       SECTION V - DEFINITIONS
          and rates.                                       1.   "Advertisement" means a notice that is
     b.   Premium shown in this Coverage Part as                broadcast or published to the general public or
          advance premium is a deposit premium                  specific market segments about your goods,
          only. At the dose of each audit period we             products or services for the purpose of
          will compute the earned premium for that              attracting customers or supporters. For the
          period and send notice to the first Named             purposes of this definition:
          Insured. The due date for audit and                   a.   Notices that are published indude material
          retrospective premiums is the date shown                   placed on the Internet or on similar
          as the due date on the bill. If the sum of the             electronic means of communication; and
          advance and audit premiums paid for the
          policy period is greater than the earned              b.   Regarding web sites, only that part of a
          premium, we will return the excess to the                  web site that is about your goods, products
          first Named Insured.                                       or services for the purposes of attracting
                                                                     customers or supporters is considered an
     c.   The first Named Insured must keep records                  advertisement.
          of the information we need for premium
          computation, and send us copies at such          2.   "Auto" means:
          times as we may request.
                                                                a.   A land motor vehicle, trailer or semitrailer
6.   Representations                                                 designed for travel on public roads,
                                                                     including any attached machinery or
     By accepting this policy, you agree:                            equipment; or
     a.   The statements in the Declarations are                b.   Any other land vehicle that is subject to a
          accurate and complete;                                     compulsory or financial responsibility law or
     b. Those      statements are based upon                         other motor vehicle insurance law where it
          representations you made to us; and                        is licensed or principally garaged.

     c.   We have issued this policy in reliance upon           However, "auto" does not include "mobile
          your representations.                                 equipment".

7.   Separation Of Insureds                                3.   "Bodily injury" means bodily injury, sickness or
                                                                disease sustained by a person, including death
     Except with respect to the Limits of Insurance,            resulting from any of these at any time.
     and any rights or duties specifically assigned in
     this Coverage Part to the first Named Insured,        4.   "Coverage territory" means:
     this insurance applies:                                    a.   The United States of America (induding its
     a.   As if each Named Insured were the only                     territories and possessions), Puerto Rico
          Named Insured; and                                         and Canada;

     b.   Separately to each insured against whom               b.   International waters or airspace, but only if
          claim is made or "suit'' is brought.                       the injury or damage oca.Jrs in the course
                                                                     of travel or transportation between any
8.   Transfer Of Rights Of Recovery Against                          places induded in Paragraph a. above; or
     Others To Us
                                                                c.   All other parts of the world if the injury or
     If the insured has rights to recover all or part of             damage arises out of:
     any payment we have made under this

CG 00 01 0413                          © Insurance Services Office, Inc., 2012                    Page 13 of 17
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 52 of 88



          (1) Goods or products made or sold by                d.   An obligation, as required by ordinance, to
              you in the territory described in                     indemnify a municipality, except in
              Paragraph a. above;                                   connection with work for a municipality;
          (2) The activities of a person whose home            e.   An elevator maintenance agreement;
              is in the territory described in
              Paragraph a. above, but is away for a            f.   That part of any other contract or
              short time on your business; or                       agreement pertaining to your business
                                                                    (induding      an   indemnification     of a
          (3) "Personal and advertising injury"                     municipality in connection with work
              offenses that take place through the                  performed for a municipality) under which
              Internet or similar electronic means of               you assume the tort liability of another
              communication;                                        party to pay for "bodily injury" or "property
                                                                    damage" to a third person or organization.
          provided the insured's responsibility to pay              Tort liability means a liability that would be
          damages is determined in a "suit" on the                  imposed by law in the absence of any
          merits, in the territory described in                     contract or agreement.
          Paragraph a. above or in a settlement we
          agree to.                                                 Paragraph f. does not include that part of
                                                                    any contract or agreement:
5.   "Employee" includes a "leased worker".
     "Employee" does not include a "temporary                       (1) That indemnifies a railroad for "bodily
     worker".                                                           injury" or "property damage" arising
                                                                        out of construction or demolition
6.   "Executive officer" means a person holding any                     operations, within 50 feet of any
     of the officer positions created by your charter,                  railroad property and affecting any
     constitution, bylaws or any other similar                          railroad bridge or trestle, tracks, road-
     governing document.                                                beds, tunnel, underpass or crossing;
7.   "Hostile fire" means one which becomes                         (2) That indemnifies an architect, engineer
     uncontrollable or breaks out from where it was                     or surveyor for injury or damage
     intended to be.                                                    arising out of:
8.   "Impaired property" means tangible property,                       (a) Preparing, approving, or failing to
     other than "your product" or "your work", that                         prepare or approve, maps, shop
     cannot be used or is less useful because:                              drawings,      opinions,    reports,
     a.   It incorporates "your product" or "your                           surveys, field orders, change
          work" that is known or thought to be                              orders      or     drawings     and
          defective,   deficient, inadequate   or                           specifications; or
          dangerous; or                                                 (b) Giving directions or instructions,
     b.   You have failed to fulfill the terms of a                         or failing to give them, if that is the
          contract or agreement;                                            primary cause of the injury or
                                                                            damage; or
     if such property can be restored to use by the
     repair, replacement, adjustment or removal of                  (3) Under which the insured, if an
     "your product" or "your work" or your fulfilling                   architect,   engineer or surveyor,
     the terms of the contract or agreement.                            assumes liability for an injury or
                                                                        damage arising out of the insured's
9.   "Insured contract" means:                                          rendering    or failure      to render
                                                                        professional services, including those
     a.   A contract for a lease of premises.                           listed in (2) above and supervisory,
          However, that portion of the contract for a                   inspection, ardlitectural or engineering
          lease of premises that indemnifies any                        activities.
          person or organization for damage by fire
          to premises while rented to you or              10. "Leased worker" means a person leased to you
          temporarily   ocrupied    by   you     with          by a labor leasing firm under an agreement
          permission of the owner is not an "insured           between you and the labor leasing firm, to
          contract";                                           perform duties related to the conduct of your
                                                               business. "Leased worker" does not include a
     b.   A sidetrack agreement;                               "temporary worker".
     c.   Any easement or license agreement,              11. ''Loading or unloading" means the handling of
          except in connection with construction or           property:
          demolition operations on or within 50 feet
          of a railroad;



CG 00 01 0413                         © Insurance Services Office, Inc., 2012                     Page 14 of 17
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 53 of 88



    a.   After it is moved from the place where it is                    {b) Road     maintenance,      but not
         accepted for movement into or onto an                                construction or resurfacing; or
         aircraft, watercraft or "auto";
                                                                         (c) Street cleaning;
    b.   While it is in or on an aircraft, watercraft or
         "auto"; or                                                  (2) Cherry pickers and similar devices
                                                                         mounted on automobile or truck
    c.   While it is being moved from an aircraft,                       chassis and used to raise or lower
         watercraft or "auto" to the place where it is                   workers; and
         finally delivered;
                                                                     (3) Air    compressors,       pumps     and
    but "loading or unloading" does not include the                      generators,      including     spraying,
    movement of property by means of a                                   welding, building cleaning, geophysical
    mechanical device, other than a hand truck,                          exploration, lighting and well servicing
    that is not attached to the aircraft, watercraft or                  equipment.
    "auto".
                                                                However, "mobile equipment" does not include
12. ''Mobile equipment" means any of the following              any land vehicles that are subject to a
    types of land vehicles, induding any attached               compulsory or financial responsibility law or
    machinery or equipment:                                     other motor vehicle insurance law where it is
                                                                licensed or principally garaged. Land vehicles
    a.   Bulldozers, farm machinery, forklifts and              subject to a        compulsory or financial
         other vehicles designed for use principally            responsibility law or other motor vehicle
         off public roads;                                      insurance law are considered "autos".
    b.   Vehicles maintained for use solely on or          13. "Ocx::urrence" means an accident, including
         next to premises you own or rent;                      continuous    or  repeated exposure to
    c.   Vehicles that travel on crawler treads;                substantially the same general harmful
                                                                conditions.
    d.   Vehicles, whether self-propelled or not,
         maintained primarily to provide mobility to       14. "Personal and advertising injury" means injury,
         permanently mounted:                                  including consequential "bodily injury", arising
                                                               out of one or more of the following offenses:
         (1) Power cranes, shovels,            loaders,
             diggers or drills; or                              a.   False arrest, detention or imprisonment;

         (2) Road construction or resurfacing                   b.   Malicious prosecution;
             equipment such as graders, scrapers                c.   The wrongful eviction from, wrongful entry
             or rollers;                                             into, or invasion of the right of private
    e.   Vehicles not described in Paragraph a., b.,                 occupancy of a room, dwelling or premises
         c. or d. above that are not self-propelled                  that a person occupies, committed by or on
         and are maintained primarily to provide                     behalf of its owner, landlord or lessor;
         mobility   to     permanently     attached             d.   Oral or written publication, in any manner,
         equipment of the following types:                           of material that slanders or libels a person
         (1) Air    compressors,       pumps     and                 or organization or disparages a person's or
             generators,      including     spraying,                organization's goods, products or services;
             welding, building cleaning, geophysical            e.   Oral or written publication, in any manner,
             exploration, lighting and well servicing                of material that violates a person's right of
             equipment; or                                           privacy;
         (2) Cherry pickers and similar devices                 f.   The use of another's advertising idea in
             used to raise or lower workers;                         your "advertisement"; or
    f.   Vehicles not described in Paragraph a., b.,            g.   Infringing upon another's copyright, trade
         c. or d. above maintained primarily for                     dress or slogan in your "advertisement".
         purposes other than the transportation of
         persons or cargo.                                 15. "Pollutants" mean any solid, liquid, gaseous or
                                                                thermal irritant or contaminant, including
         However, self-propelled vehicles with the              smoke, vapor, soot, fumes, acids, alkalis,
         following types of permanently attached                chemicals and waste. Waste indudes materials
         equipment are not "mobile equipment" but               to be recycled, reconditioned or reclaimed.
         will be considered "autos":
                                                           16. "Products-completed operations hazard":
         (1) Equipment designed primarily for:
                                                                a.   Includes all "bodily injury" and "property
             (a) Snow removal;                                       damage" occurring away from premises

CG 00 01 0413                          © Insurance Services Office, Inc., 2012                    Page 15 of 17
               Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 54 of 88



         you own or rent and arising out of "your               For the purposes of this insurance, electronic
         produd" or "your work" except:                         data is not tangible property.
         (1) Produds that are still in your physical            As used in this definition, electronic data means
             possession; or                                     information, facts or programs stored as or on,
                                                                created or used on, or transmitted to or from
         (2)   Work that has not yet been completed             computer software, induding systems and
               or abandoned. However, "your work''              applications software, hard or floppy disks, CD-
               will be deemed completed at the                  ROMs, tapes, drives, cells, data processing
               earliest of the following times:                 devices or any other media which are used with
               (a) When all of the work called for in           electronically controlled equipment.
                   your    contract    has     been         18. "Suit" means a civil proceeding in which
                   completed.                                   damages because of "bodily injury", "property
               (b) When all of the work to be done at           damage" or "personal and advertising injury" to
                   the job site has been completed if           which this insurance applies are alleged. "Suit"
                   your cxmtrad calls for work at               includes:
                   more than one job site.                      a.    An arbitration proceeding in which such
               (c) When that part of the work done                    damages are daimed and to which the
                   at a job site has been put to its                  insured must submit or does submit with
                   intended use by any person or                      our consent; or
                   organization other than another               b. Any other alternative dispute resolution
                   contrador     or   subcontractor                   proceeding in which such damages are
                   working on the same projed.                        claimed and to which the insured submits
               Work    that may need        service,                  with our consent.
               maintenance, corredion, repair or            19. ''Temporary worker" means a person who is
               replacement, but which is otherwise              furnished to you to substitute for a permanent
               complete,   will  be   treated     as            "employee" on leave or to meet seasonal or
               completed.                                       short-term workload conditions.
    b.   Does not include "bodily injury" or "property      20. 'Volunteer worker" means a person who is not
         damage" arising out of:                                your "employee", and who donates his or her
         (1) The transportation of property, unless             work and acts at the direction of and within the
               the injury or damage arises out of a             scope of duties determined by you, and is not
               condition in or on a vehicle not owned           paid a fee, salary or other compensation by you
               or operated by you, and that condition           or anyone else for their work performed for you.
               was created by the "loading or               21. "Your product":
               unloading" of that vehicle by any
               insured;                                          a.   Means:
         (2) The existence of tools, uninstalled                      (1) Any goods or products, other than real
             equipment or abandoned or unused                               property, manufactured, sold, handled,
             materials; or                                                  distributed or disposed of by:
         (3) Products or operations for which the                           (a) You;
               classification, listed in the Declarations
               or in a policy Schedule, states that                         (b) Others trading under your name;
               products-completed operations are                                or
               subjed to the General Aggregate                              (c) A person or organization whose
               Limit.                                                           business or assets you have
17. "Property damage" means:                                                    acquired; and

   a.    Physical mJury to tangible property,                         (2)   Containers (other than vehicles),
         including all resulting loss of use of that                        materials,   parts or   equipment
         property. All such loss of use shall be                            furnished in connection with such
         deemed to occur at the time of the physical                        goods or products.
         injury that caused it; or                               b.   Includes:
    b.   Loss of use of tangible property that is not                 (1) Warranties or representations made at
         physically injured. All such loss of use shall                   any time with respect to the fitness,
         be deemed to occur at the time of the                            quality, durability, performance or use
         "ocrurrence" that caused it.                                     of "your product"; and


CG 00 01 0413                           © Insurance Services Office, Inc., 2012                    Page 16of17
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 55 of 88



         (2) The providing of or failure to provide               (2) Materials,     parts  or     equipment
             warnings or instructions.                                furnished in connection with such work
                                                                      or operations.
    c.   Does not include vending machines or
         other property rented to or located for the         b.   lndudes:
         use of others but not sold.
                                                                  (1) Warranties or representations made at
22. "Your work":                                                      any time with respect to the fitness,
                                                                      quality, durability, performance or use
    a.   Means:                                                       of "your work"; and
         (1) Work or operations performed by you                  (2) The providing of or failure to provide
             or on your behalf; and                                   warnings or instructions.




CG 00 01 0413                       © Insurance Services Office, Inc., 2012                   Page 17 of 17
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 56 of 88


                                                             COMMERCIAL GENERAL LIABILITY
                                                                        CSGA401 TOC 0213


         CHANGES TO COMMERCIAL GENERAL LIABILITY
                     COVERAGE FORM
                   TABLE OF CONTENTS
                                                                    Page No.
EXCLUSION - ADDITIONAL INSURED PRIOR KNOWLEDGE _ _ _ _ _ _ _ _ _ _ _ _ _ 1
EXCLUSION - ASBESTOS                                                       2
EXCLUSION - CROSS SUITS                                                    2
EXCLUSION - PRIOR INJURY OR DAMAGE                                         2
EXCLUSION - LEAD                                                           3
EXCLUSION OF NEWLY ACQUIRED ORGANIZATIONS AS INSUREDS                      3
EXCLUSION - PUNITIVE OR EXEMPLARY DAMAGES                                  3




                        Includes copyrigtted material of Insurance
CSGA 401 TOC 02 13       Services Office, Inc., with its permission.           Page 1 of 1
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 57 of 88


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                        CSGA 401 02 13


    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            CHANGES TO COMMERCIAL GENERAL LIABILITY
                        COVERAGE FORM
This endorsement modifies insurance provided under the following:


    COMMERCIAL GENERAL LIABILITY COVERAGE FORM


                  EXCLUSION - ADDITIONAL INSURED PRIOR KNOWLEDGE

A. The following exdusion is added to Paragraph              B. The following exdusion is added to Paragraph
    2., Exclusions of Section I - Coverage A -                  2., Exclusions of Section I - Coverage B -
    Bodily Injury and Property Damage Liabil-                     Personal and Advertising Injury Liability:
    ity:
                                                                  This insurance does not apply to an additional
    This insurance does not apply to an additional                insured added by attachment of an endorse-
    insured added by attachment of an endorse-                    ment to this Coverage Part that is seeking
    ment to this Coverage Part that is seeking cov-               coverage for a claim or "suit," if that additional
    erage for a daim or "suit," if that additional in-            insured knew, per the following paragraph, that
    sured knew, per the following paragraph, that                 a "personal and advertising injury" offense had
    "bodily injury" or "property damage" had oc-                  been committed or had begun to be commit-
    curred or had begun to occur, in whole or in                  ted, in whole or in part, prior to the policy pe-
    part, prior to the policy period in which such                riod in which such "personal and advertising
    "bodily injury" or "property damage" occurs or                injury'' was committed or began to be commit-
    begins to occur.                                              ted.
    An additional insured added by attachment of                  An additional insured added by attachment of
    an endorsement to this Coverage Part will be                  an endorsement to this Coverage Part will be
    deemed to have known that "bodily injury" or                  deemed to have known that a "personal and
    "property damage" has occurred or has begun                   advertising injury" offense has been committed
    to occur at the earliest time when that addi-                 or has begun to be committed at the earliest
    tional insured, or any one of its owners, mem-                time when that additional insured, or any one
    bers, partners, managers, executive officers,                 of its owners, members, partners, managers,
    "employees'' assigned to manage that addi-                    executive officers, "employees" assigned to
    tional insured's insurance program, or "em-                   manage that additional insured's insurance
    ployees" assigned to give or receive notice of                program, or "employees" assigned to give or
    an "occurrence," daim or "suit":                              receive notice of an offense, daim or "suit":
    1.    Reports all, or any part, of the "bodily in-            1.   Reports all, or any part, of the "personal
         jury'' or "property damage" to us or any                      and advertising injury" to us or any other
         other insurer;                                                insurer;
    2.   Receives a written or verbal demand or                   2.   Receives a written or verbal demand or
         claim for damages because of the "bodily                      claim for damages because of the "per-
         injury," or "property damage";                                sonal and advertising injury";
    3.   First observes or reasonably should have                 3.   First observes or reasonably should have
         first observed, the "bodily injury" or "prop-                 first observed, the "personal and advertis-
         erty damage; or                                               ing injury''; or
    4.   Becomes aware, or reasonably should                      4.   Becomes aware, or reasonably should
         have become aware, by any means other                         have become aware, by any means other
         than as described in 3. above, that "bodily                   than as described in 3. above, that a "per-
         injury" or "property damage" had occurred                     sonal and advertising injury" offense had
         or had begun to occur.                                        been committed or had begun to be
                                                                       committed.



                                     lndudes copyrigtted material of Insurance
CSGA 401 02 13                        Services Office, Inc., with its permission.                     Page 1 of3
              Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 58 of 88



                                        EXCLUSION -ASBESTOS

A. The following exdusion is added to Paragraph                            taring, deaning up, removing, con-
    2. Exclusions of Section I - Coverage A -                              taining, treating, detoxifying, neutral-
    Bodily Injury and Property Damage Liability                            izing, remediating or disposing of, or
    and Paragraph 2. Exclusions of Section I -                             in any way responding to, or assess-
   Coverage B - Personal and Advertising In-                               ing the effects of, "asbestos," by any
   jury Liability:                                                         insured or by any other person or en-
                                                                           tity.
    2.   Exclusions
                                                             B. The following definition is added to the Defini-
         This insurance does not apply to:                      tions Section:
         a.   "Bodily injury," "property damage" or               ''Asbestos" means any type or form of asbes-
              "personal and advertising injury'' aris-            tos, including but not limited to, asbestos, as-
              ing out of, attributable to, or any way             bestos products, asbestos fibers, asbestos
              related to "asbestos" in any form or                contained in any product or material, or a mix-
              transmitted in any manner.                          ture or combination of asbestos and other dust
         b.   Any loss, cost or expenses arising                  or particles.
              out of the abating, testing for, moni-


                                      EXCLUSION - CROSS SUITS

A. The following exdusion is added to Paragraph                   This insurance does not apply to:
   2. Exclusions of Section I - Coverage A -
   Bodily Injury and Property Damage Liability                    Cross Suits
   and Paragraph 2. Exclusions of Section I -                     a.   'Bodily injury," "property damage" or "per-
   Coverage B - Personal and Advertising Li-                           sonal and advertising injury" arising out of
   ability:                                                            any claim for damages by a Named In-
    2.   Exclusions                                                    sured against another Named Insured.


                             EXCLUSION - PRIOR INJURY OR DAMAGE

A. The following exdusion is added to Paragraph              B. The following exdusion is added to Paragraph
   2., Exclusions of Section I - Coverage A -                   2., Exclusions of Section I - Coverage B -
   Bodily Injury and Property Damage:                             Personal and Advertising Injury:
    This insurance does not apply to any ''bodily                 This insurance does not apply to "personal
    iriury'' or "property damage" that:                           and advertising injury" that:
    1.   first ocrurred prior to the Effective date of            1.   was first committed prior to the Effective
         this Coverage Part;                                           date of this Coverage Part;
    2.   is alleged to be in the process of ocrur-                2.   is alleged to be in the process of being
         ring as of the Effective date of this Cover-                  committed as of the Effective date of this
         age Part; or                                                  Coverage Part;
    3.   is in the process of settlement, adjustment              3.   is in the process of settlement, adjustment
         or "suit''.                                                   or "suit".
    This exclusion applies to all continuing injury               This exclusion applies to all continuing injury
    or damage:                                                    or damage:
    1.   arising from the same or similar cause,                  1.   arising from the same or similar cause,
         including continuous or repeated expo-                        including continuous or repeated expo-
         sure to substantially the same general                        sure to substantially the same general
         harmful conditions; or                                        harmful conditions; or
    2.   at the same or adjacent location; or                     2.   at the same or adjacent location; or
    3.   from the same or similar work; or                        3.   from the same or similar work; or
    4.   from the same product or service.                        4.   from the same product or service.

                                     Includes copyrighted material of Insurance
CSGA 401 02 13                        Services Office, Inc., with its permission.                     Page 2of3
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 59 of 88




                                              EXCLUSION - LEAD

A.   The following exdusion is added to Paragraph                           inhalation of, or ingestion of, absorp-
      2., Exclusions of Section I - Coverage A -                            tion of, exposure to or presence of
      Bodily Injury and Property Damage Liability                           lead in any form.
     and Paragraph 2., Exclusions of Section I -
     Coverage B - Personal and Advertising In-                          b. Any loss, cost or expense arising, in
     jury Liability:                                                        whole or in part, out of the abating,
                                                                            testing for, monitoring, deaning up,
     2.   Exclusions                                                        removing, containing, treating, detoxi-
                                                                            fying, neutralizing, remediating or
          This insurance does not apply to:                                 disposing of, or in any way respond-
          a.   "Bodily injury," "property damage" or                        ing to or assessing the effects of lead
               "personal and advertising injury" aris-                      in any form, by any insured or by any
               ing in whole or in part, out of the ac-                      other person or entity.
               tual alleged, threatened or suspected


                    EXCLUSION OF NEWLY ACQUIRED ORGANIZATIONS AS INSUREDS

Paragraph 3. of Section II - Who Is An Insured
does not apply and is deleted in its entirety.


                       EXCLUSION - PUNITIVE OR EXEMPLARY DAMAGES

A. The following exdusion is added to Paragraph                    any insured for a daim covered by this Cover-
   2., Exclusions of Section I - Coverage A -                      age Part, seeking both compensatory and pu-
     Bodily Injury and Property Damage Liability                   nitive or exemplary damages, we will provide a
     and Paragraph 2., Exclusions of Section I -                   defense to such adion. However, we will not
     Coverage B - Personal and Advertising In-                     have an obligation to pay for any costs, inter-
     jury Liability:                                               est, or damages, attributable to punitive or ex-
                                                                   emplary damages. If state law provides for
     2.   Exclusions                                               statutory multiple damage awards, we will pay
     This insurance does not apply to:                             only the amount of the award before the multi-
                                                                   plier is added.
     Any daim of indemnification for punitive or ex-
     emplary damages. If a suit is brought against




                                      lndudes copyrigl1ed material of Insurance
CSGA401 0213                           Services Office, Inc., with its permission.                   Page 3 of3
       Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 60 of 88


                                                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                                                  CSGA 402 TOC 05 16


       CONTRACTORS - CHANGES TO COMMERCIAL GENERAL
                 LIABILITY COVERAGE PART
                    TABLE OF CONTENTS
                                                                                                                                                Page No.
EXCLUSION - BREACH OF CONTRACT ............................................................................................................1
EXCLUSION - BODILY INJURY TO CONTRACTORS' OR SUBCONTRACTORS' EMPLOYEES ...................1
EXCLUSION - EMPLOYER'S LIABILITY.............................................................................................................2
EXCLUSION - CONSTRUCTION MANAGEMENT ERRORS AND OMISSIONS AND CONTRACTORS
 PROFESSIONAL ................................................................................................................................................2
EXCLUSION - SUBSIDENCE OF LAND ..............................................................................................................3
EXCLUSION - OPERATIONS COVERED BY A CONSOLIDATED (WRAP-UP) INSURANCE PROGRAM ..... 3




                                                   lndudes copyrighted material of Insurance
CSGA 402 TOC 05 16                                  Services Office, Inc., with its permission.
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 61 of 88


                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                           CSGA 402 05 16

    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CONTRACTORS - CHANGES TO COMMERCIAL GENERAL
               LIABILITY COVERAGE PART
This endorsement modifies insurance provided under the following:


    COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                  EXCLUSION - BREACH OF CONTRACT

A. The following exdusion is added to Paragraph                     This insurance does not apply to any daim for
   2., Exclusions of Section I - Coverage A -                       ''bodily injury" or "property damage" arising di-
   Bodily Injury And Property Damage Liabil-                        rectly or indirectly from breach of express or
   ity:                                                             implied contract, including breach of an im-
                                                                    plied in law or implied in fact contract. This
                                                                    exdusion does not apply to liability for damag-
                                                                    es that an insured would have in the absence
                                                                    of the contract.



                     EXCLUSION - BODILY INJURY TO CONTRACTORS' OR
                                    SUBCONTRACTORS'EMPLOYEES

A. The following exdusion is added to Paragraph                         b.   The spouse, child, parent, brother or
   2. Exclusions of Section I - Coverage A -                                 sister of that "employee" as a conse-
   Bodily Injury And Property Damage Liabil-                                 quence of Paragraph a. above.
   ity:
                                                                             This exdusion applies:
    2.   Exclusions
                                                                             (1) Whether an insured may be lia-
         This insurance does not apply to:                                       ble as an employer or in any
                                                                                 other capacity; and
         "Bodily injury" to:
                                                                             (2) To any obligation to share dam-
         a.   Any "employee" of any:                                             ages with or repay someone else
              (1) "Contractor"; or                                               who must pay damages because
                                                                                 of the injury, including any obli-
              (2) "Subcontractor''; and                                          gation to pay damages by rea-
                                                                                 son of the assumption of liability
                   (a) Arising out of and in the                                 in an •~nsured contract" or
                       course of                                                 agreement.
                        1)     Employment; or                  B. The following definitions are added and apply
                        2)     Performing duties relat-             with respect to this endorsement:
                               ed to the conduct of an              "Contractor" and/or "Subcontractor'' means a
                               insured's business or                person, company or organization who agrees
                               the business of a "con-              in any oral or written contract or agreement
                               tractor'' or "subcontrac-            with any person or organization to undertake
                               tor''.                               to perform work; to perform a service; or to
                                                                    complete a job.



                                       Includes copyrigtted material of Insurance
CSGA 402 05 16                          Services Office, Inc., with its permission.                     Page 1 of3
               Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 62 of 88


     ''Employee" under this endorsement means                      "Casual worker" means a person, other than a
     any person who is hired for a wage, salary, fee               person furnished to you by a labor union, which
     or payment to perform work. "Employee'' in-                   acts at the direction of and within the scope of
     cludes any leased worker or temporary work-                   duties determined by any insured, and for whom
     er, loaned worker, ''volunteer worker", 1099                  any insured, or a labor leasing firm acting on
     worker, "casual worker" or day la:>orer.                      behalf of any insured, does not withhold federal
                                                                   income taxes or pay federal unemployment tax.



                                EXCLUSION - EMPLOYER'S LIABILITY

A.   Exdusion e. of Paragraph 2. Exclusions of                     because of the injury, induding any obligation to
     Section I - Coverages, Coverage A. Bodily                     pay damages by reason of assumption of liabil-
     Injury And Property Damage Liability is de-                   ity in an "insured contract" or agreement.
     leted and replaced by the following:
                                                              B. The follCMting definitions are added and apply
     ''Bodily injury" to:                                          with respect to this endorsement:
     1.   An "employee" of the insured arising out                 "Employee" under this endorsement means any
          of and in the course of:                                 person who is hired for a wage, salary, fee or
                                                                   payment to perform work. "Employee" includes
          a.    Employment by the insured; or                      any leased worker or temporary worker, loaned
          b.   Performing duties related to the con-               worker, "volunteer worker", 1099 worker, "casu-
               duct of the insured's business; or                  al worker" or day laborer.

     2.   The spouse, child, parent, brother or sis-               "Casual worker" means a person, other than a
          ter of that "employee" as a consequence                  person furnished to you by a labor union, which
          of Paragraph 1. above.                                   acts at the direction of and within the scope of
                                                                   duties determined by any insured, and for whom
     This exdusion applies whether the insured may                 any insured, or a labor leasing firm acting on
     be liable as an employer or in any other capacity             behalf of any insured, does not withhold federal
     and to any obligation to share damages with or                income taxes or pay federal unemployment tax.
     repay someone else who must pay damages



     EXCLUSION - CONSTRUCTION MANAGEMENT ERRORS AND OMISSIONS AND
                                    CONTRACTORS PROFESSIONAL

A.   The following exdusion is added to Paragraph                            by you or on your behalf on a project
     2. Exclusions of Section I - Coverages,                                 on which you do not serve as con-
     Coverage A. Bodily Injury And Property                                  struction manager, but only with re-
     Damage Liability and Paragraph 2. Exclu-                                spect to either or both of the following
     sions of Section I - Coverages, Coverage B.                             operations:
     Personal And Advertising Injury Liability:
                                                                             (1) Providing engineering, architec-
     2.   Exclusions                                                             tural or surveying services to
                                                                                 others; and
          This insurance does not apply to:
                                                                             (2) Providing, or hiring independent
          "Bodily injury", "property damage" or "per-                            professionals to provide engi-
          sonal and advertising injury" arising out of:                          neering, architectural or survey-
          a.   Construction management services                                  ing services in connection with
               on a project on which you serve as                                construction work you perform.
               construction manager. However, this                 The follCMting definitions are added and apply
               exdusion does not apply to "bodily in-              with respect to this endorsement:
               jury" or "property damage" due to
               construction or demolition work done                1.   Construction management services in-
               by you, your "employees" or your                         clude:
               subcontractors.
                                                                        a.   Preparing, approving or failing to pre-
          b.   The rendering of or failure to render                         pare or approve, maps, shop draw-
               any contractor professional services                          ings, opinions, reports, surveys, field

                                      Includes copyrighted material of Insurance
CSGA 402 05 16                         Services Office, Inc., with its permission.                     Page 2of3
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 63 of 88


              orders, dlange orders or drawings                            field orders, change orders or draw-
              and specifications by any architect,                         ings and specifications; and
              engineer or surveyor; and
                                                            b.   Supervisory, consulting or inspection activities
         b.   Inspection, supervision, consulting,               performed as part of any related architectural or
              quality control, architectural or engi-            engineering activities.
              neering activities done by or for you.
                                                                 However, contractor professional services do
    2.   Contractor professional services include:               not indude services within construction means,
                                                                 methods, techniques, sequences and proce-
         a.   Preparing, approving, or failing to                dures employed by you in connection with con-
              prepare or approve, maps, shop                     struction work you perform.
              drawings, opinions, reports, surveys,



                               EXCLUSION - SUBSIDENCE OF LAND


A. The following exdusion is added to Paragraph                  a.   "Bodily injury", "property damage", or
   2., Exclusions of Section I - Coverage A -                         "personal and advertising injury" caused
    Bodily Injury And Property Damage Liabil-                         by, resulting from, attributable to or con-
    ity and Paragraph 2., Exclusions of Section I                     tributed to, or aggravated by the subsid-
    - Coverage B - Personal And Advertising In-                       ence of land as a result of landslide, mud-
   jury Liability:                                                    flo.v, earth sinking or shifting, resulting
                                                                      from operations or completed operations
    2.   Exclusions                                                   of any insured or any subcontractor of any
         This insurance does not apply to:                            insured.



         EXCLUSION -OPERATIONS COVERED BYA CONSOLIDATED (WRAP-UP)
                                         INSURANCE PROGRAM

A. The following exdusion is added to Paragraph                       a.   Provides coverage identical to that
   2., Exclusions of Section I - Coverage A -                              provided by this coverage part;
    Bodily Injury And Property Damage Liabil-
    ity:                                                              b.   Has limits adequate to cover all
                                                                           claims; or
    2.   Exclusions
                                                                      c.   Remains in effect.
         This insurance does not apply to:
                                                                      d.   This exdusion does not apply if the
         "Bodily injury" or ''property damage" aris-                       consolidated (wrap-up) insurance
         ing out of either your ongoing operations                         program covering your operations
         or operations induded within the "prod-                           described in the Schedule has been
         ucts-completed operations hazard" at any                          cancelled, nonrenewed or otherwise
         location for whidl a consolidated (wrap-                          no longer applies for reasons other
         up) insurance program has been provided                           than the exhaustion of all available
         by the prime contractor I project manager                         limits, whether such limits are availa-
         or owner of the construction project in                           ble on a primary, excess or on any
         which you are involved.                                           other basis. You must advise us of
                                                                           sudl cancellation, nonrenewal or
         This exdusion applies whether or not the                          termination as soon as practicable.
         consolidated (wrap-up) insurance pro-
         gram:




                                    Includes copyrigtted material of Insurance
CSGA 402 05 16                       Services Office, Inc., with its permission.                    Page 3of3
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 64 of 88


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21070514


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              EXCLUSION - ACCESS OR DISCLOSURE OF
           CONFIDENTIAL OR PERSONAL INFORMATION AND
          DATA-RELATED LIABILITY - LIMITED BODILY INJURY
                    EXCEPTION NOT INCLUDED
This endorsement modifies insurance provided under the following:


     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   Exdusion 2.p. of Section I - Coverage A -                           used on, or transmitted to or from
     Bodily Injury And Property Damage Liability                         computer software, induding systems
     is replaced by the following:                                       and applications software, hard or
                                                                         floppy disks, CD-ROMs, tapes, drives,
     2.   Exclusions                                                     cells, data processing devices or any
          This insurance does not apply to:                              other media which are used with elec-
                                                                         tronically controlled equipment.
          p.   Access Or Disclosure Of Confiden-
               tial Or Personal Information And            B. The following is added to Paragraph 2. Exclu-
               Data-related Liability                         sions of Section I - Coverage B - Personal
                                                              And Advertising Injury Liability:
               Damages arising out of:
                                                                2.   Exclusions
               (1) Any access to or disdosure of any
                   person's or organization's confi-                 This insurance does not apply lo:
                   dential or personal information,                  Access Or Disclosure Of Confidential Or
                   including patents, trade secrets,                 Personal Information
                   processing methods, customer
                   lists, financial information, credit              ''Personal and advertising injury" arising
                   card information, health informa-                 out of any access to or disdosure of any
                   tion or any other type of nonpublic               person's or organization's confidential or
                   information; or                                   personal information, including patents,
                                                                     trade secrets, processing methods, a.is-
               (2) The loss of, loss of use of, dam-                 tomer lists, financial information, credit card
                   age to, corruption of, inability to               information, health information or any other
                   access, or inability to manipulate                type of nonpublic information.
                   electronic data.
                                                                     This exdusion applies even if damages are
               This exdusion applies even if dam-                    claimed for notification costs, credit moni-
               ages are daimed for notification costs,               toring expenses, forensic expenses, public
               credit monitoring expenses, forensic                  relations expenses or any other loss, cost
               expenses, public relations expenses                   or expense incurred by you or others aris-
               or any other loss, cost or expense in-                ing out of any access to or disdosure of
               curred by you or others arising out of                any person's or organization's confidential
               that which is described in Paragraph                  or personal information.
               (1) or (2) above.
               As used in this exdusion, electronic
               data means information, facts or pro-
               grams stored as or on, created or




CG 21070514                            © Insurance Services Office, Inc., 2013                        Page 1 of 1
           Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 65 of 88



POLICY NUMBER: CSU0108088                                                  COMMERCIAL GENERAL LIABILITY
                                                                                          CG 0300 0196

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       DEDUCTIBLE LIABILITY INSURANCE
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                    SCHEDULE
     Coverage                                                            Amount and Basis of Deductible
                                                                       PER CLAIM or PER OCCURRENCE
     Bodily Injury Liability                                           $                $
              OR
     Property Damage Liability                                         $                    $
              OR
     Bodily Injury Liability and/or                                     $ 1, 000            $
     Property Damage Liability Combined

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all "bodily injury" and "property damage", however
caused):
Defense costs and expenses are subject to the deductible. For the purposes of this
endorsement, defense costs and claims expenses are included as damages and any
payment applies only to amounts in excess of the deductible amount stated.


A. Our obligation under the Bodily Injury Liability and           b. Under Property Damage Liability Coverage,
   Property Damage Liability Coverages to pay dam-                    to all damages sustained by any one per-
   ages on your behalf applies only to the amount of                  son because of "property damage"; or
   damages in excess of any deductible amounts                    c. Under Bodily Injury Liability and/or Property
   stated in the Schedule above as applicable to                     Damage Liability Coverage Combined, to
   such coverages.                                                   all damages sustained by any one person
B. You may select a deductible amount on either a                    because of:
   per claim or a per "occurrence" basis. Your se-                   (1) "Bodily injury";
   lected deductible applies to the coverage option
   and to the basis of the deductible indicated by the               (2) "Property damage"; or
   placement of the deductible amount in the Sched-                  (3) "Bodily injury" and "property damage"
   ule above. The deductible amount stated in the                        combined
   Schedule above applies as follows:
                                                                  as the result of any one "occurrence".
   1. PER CLAIM BASIS. If the deductible amount                   If damages are claimed for care, loss of serv-
       indicated in the Schedule above is on a per
                                                                  ices or death resulting at any time from "bodily
       claim basis, that deductible applies as follows:
                                                                  injury", a separate deductible amount will be
       a. Under Bodily Injury Liability Coverage, to all          applied to each person making a claim for such
          damages sustained by any one person be-                 damages.
          cause of "bodily injury";
                                                                  With respect to "property damage", person in-
                                                                  cludes an organization.




CG 0300 01 96                    Copyright, Insurance Services Office, Inc., 1994                     Page 1 of 2    •
           Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 66 of 88




  2. PER OCCURRENCE BASIS. If the deductible                C. The terms of this insurance, including those with
     amount indicated in the Schedule above is on              respect to:
     a "per occurrence" basis, that deductible                 1. Our right and duty to defend the insured
     amount applies as follows:                                   against any "suits" seeking those damages;
     a. Under Bodily Injury Liability Coverage, to all            and
          damages because of "bodily injury";                  2. Your duties in the event of an "occurrence",
     b. Under Property Damage Liability Coverage,                 claim, or "suit"
          to all damages because of "property dam-             apply irrespective of the application of the deducti-
          age"; or                                             ble amount.
     c.   Under Bodily Injury Liability and/or Property     D. We may pay any part or all of the deductible
          Damage Liability Coverage Combined, to               amount to effect settlement of any claim or "suit"
          all damages because of:                              and, upon notification of the action taken, you shall
          (1) "Bodily injury";                                 promptly reimburse us for such part of the de-
          (2) "Property damage"; or                            ductible amount as has been paid by us.

          (3) "Bodily injury" and "property damage"
              combined
     as the result of any one "occurrence", regard-
     less of the number of persons or organizations
     who sustain damages because of that "occur-
     rence".




Page 2of 2                       Copyright, Insurance Services Office, Inc., 1994                  CG 0300 01 96       •
           Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 67 of 88



                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 26441204

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    ARKANSAS CHANGES - NON-BINDING ARBITRATION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTION LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

If we and the insured do not agree whether coverage          Unless both parties agree otherwise, arbitration will
is provided under this Coverage Part or Policy for a         take place in the county or parish in which the address
claim made against the insured, both parties may, by         shown in the Declarations is located. Local rules of
mutual consent, agree in writing to arbitration of the       law as to procedure and evidence will apply. Any
disagreement.                                                decision agreed to by the arbitrators may be appealed
If both parties agree to arbitrate, each party will select   to a court of competent jurisdiction.
an arbitrator. The two arbitrators will select a third. If
they cannot agree within 30 days, both parties must
request that selection be made by a judge of a court
having jurisdiction. Each party will:
   1. Pay the expenses it incurs; and
   2. Bear the expenses of the third arbitrator
       equally.




CG 26441204                                  © ISO Properties, Inc., 2003                              Page 1 of 1     •
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 68 of 88


                                                                          IL 0199 09 08

    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          ARKANSAS CHANGES - TRANSFER OF RIGHTS OF
               RECOVERY AGAINST OTHERS TO US
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
    FARM LIABILITY COVERAGE FORM
    FARM UMBRELLA LIABILITY POLICY
    LIQUOR LIABILITY COVERAGE PART
    MEDICAL PROFESSIONAL LIABILITY
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY

The following is added to the Transfer Of Rights
Of Recovery Against Others To Us Condition:
We will be entitled to recovery only after the
insured ("insured") has been fully compensated for
the loss or damage sustained, including expenses
incurred in obtaining full compensation for the loss
or damage.




IL 0199 09 08                              © ISO Properties, Inc., 2007    Page 1 of 1    D
       Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 69 of 88


                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 2426 0413


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               AMENDMENT OF INSURED CONTRACT DEFINITION
This endorsement modifies insurance provided under the following:


      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The        definition   of   "insured   contract"   in   the            by law. Tort liability means a liability that
Definitions section is replaced by tre following:                       would be imposed by law in the absence of
                                                                        any contract or agreement.
'1 nsured contract" means:
                                                                        Paragraph f. does not indude that part of
      a.     A contract for a lease of premises.                        any contract or agreement:
             However, that portion of the contract for a
             lease of premises that indemnifies any                     (1) That indemnifies a railroad for "bodily
             person or organization for damage by fire                       injury" or "property damage" arising
             to premises while rented to you or                              out of construction or demolition
             temporarily   ocrupied    by   you     with                     operations, within 50 feet of any
             permission of the owner is not an "insured                      railroad property and affecting any
             contract";                                                      railroad bridge or trestle, tracks, road-
                                                                             beds, tunnel, underpass or crossing;
      b.     A sidetrack agreement;
                                                                        (2) That indemnifies an architect, engineer
      c.     Any easement or license agreement,                             or surveyor for injury or damage
             except in connection with construction or                      arising out of:
             demolition operations on or within 50 feet
             of a railroad;                                                  (a) Preparing, approving, or failing to
                                                                                 prepare or approve, maps, shop
      d.     An obligation, as required by ordinance, to                         drawings,      opinions,    reports,
             indemnify a municipality, except in                                 surveys, field orders, change
             connection with work for a municipality;                            orders      or     drawings     and
      e. An elevator maintenance agreement;                                      specifications; or

      f.     That part of any other contract or                              (b) Giving directions or instructions,
             agreement pertaining to your business                               or failing to give them, if that is the
             (inducting   an    indemnification     of a                         primary cause of the injury or
             municipality in connection with work                                damage; or
             performed for a municipality) under which                  (3) Under which the insured, if an
             you assume the tort liability of another                       architect,   engineer or surveyor,
             party to pay for "bodily injury" or "property                  assumes liability for an injury or
             damage" to a third person or organization,                     damage arising out of the insured's
             provided the "bodily injury" or "property                      rendering    or failure      to render
             damage" is caused, in whole or in part, by                     professional services, inducting those
             you or by those acting on your behalf.                         listed in (2) above and supervisory,
             However, such part of a contract or                            inspection, architectural or engineering
             agreement shall only be considered an                          activities.
             ''Insured contract" to the extent your
             assumption of the tort liability is permitted




CG 2426 0413                               © Insurance Services Office, Inc., 2012                        Page 1 of 1
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 70 of 88


                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21500413


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             AMENDMENT OF LIQUOR LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:


     COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following replaces Exdusion c. under                                  (a) The       supervision,      hiring,
Paragraph 2. Exclusions of Section I - Coverage                               employment,        training      or
A - Bodily Injury And Property Damage Liability:                              monitoring of others by that
                                                                              insured; or
2.   Exclusions
                                                                          (b) Providing or failing to provide
     This insurance does not apply to:                                        transportation with respect to any
     c.   Liquor Liability                                                    person that may be under the
                                                                              influence of alcohol;
          "Bodily injury" or "property damage" for
          which any insured may be held liable by                    if the "ocamence" which caused the
          reason of:                                                 'bodily injury" or "property damage",
                                                                     involved that which is described in
          (1) Causing     or contributing to the                     Paragraph (1), (2) or (3) above.
              intoxication of any person, including
              causing or contributing to the                         This exdusion applies only if you:
              intoxication of any person because                     (1) Manufacture,     sell      or      distribute
              alcoholic beverages were permitted to                      alcoholic beverages;
              be brought on your premises, for
              consumption on your premises;                          (2) Serve or furnish alcoholic beverages
                                                                         for a charge whether or not such
          (2) The furnishing of alcoholic beverages                      activity:
              to a person under the legal drinking
              age or under the influence of alcohol;                      (a) Requires a license;
              or
                                                                          (b) Is for the purpose of financial gain
          (3) Any statute, ordinance or regulation                            or livelihood;
              relating to the sale, gift, distribution or
              use of alcoholic beverages.                            (3) Serve or furnish alcoholic beverages
                                                                         without a charge, if a license is
          This exdusion applies even if the daims                        required for such activity; or
          against any insured allege negligence or
          other wrongdoing in:                                       (4) Permit any person to bring any
                                                                         alcoholic beverages on your premises,
                                                                         for consumption on your premises.




CG 21500413                             © Insurance Services Office, Inc., 2012                          Page 1 of 1
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 71 of 88


                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                          CSGA 416 04 08


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          INDEPENDENT CONTRACTORS LIMITATIONS OF COVERAGE

This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE FORM

A.   Section IV - Commercial General Liability                           gent or intentional acts, errors or omis-
     Conditions is amended to include the follow-                        sions of any independent contractor and
     ing language:                                                       subcontractor.
     As a condition to and for coverage to be pro-                  3.   Verify in the contract that your independ-
     vided by this policy, you must do all of the fol-                   ent contractors and subcontractors have
     lowing:                                                             named you as an additional insured on
                                                                         their Commercial General Liability Policy
     1.   Obtain a formal written contract with all                      for damages because of "bodily injury",
          independent contractors and subcon-                            "property damage", and "personal and
          tractors in force at the time of the injury or                 advertising injury" arising out of or
          damage verifying valid Commercial Gen-                         caused by any operations and completed
          eral Liability Insurance written on an "oc-                    operations of any independent contractor
          currence" basis with Limits of Liability of                    or subcontractor. Coverage provided to
          at least:                                                      you by any independent contractor or
          a.   $1,000,000 each "occurrence";                             subcontractor must be primary and must
                                                                         be provided by endorsement CG 20 10
          b.   $2,000,000 general aggregate, per                         (7/04 edition) and CG 20 37 (7/04 edi-
               project basis; and                                        tion), or their equivalent. Completed op-
                                                                         erations coverage must be maintained for
          c.   $2,000,000     Products-Completed                         a minimum of two years after the comple-
               Operations aggregate.                                     tion of the formal written contract.
     2.   Obtain a formal written contract stating             This insurance will not apply to any loss, claim
          the independent contractors and sub-                 or "suit" for any liability or any damages aris-
          contractors have agreed to defend, in-               ing out of operations or completed operations
          demnify and hold you harmless from any               performed for you by any independent contrac-
          and all liability, loss, actions, costs, in-         tors or subcontractors unless all of the above
          cluding attorney fees for any claim or               conditions have been met.
          lawsuit presented, arising from the negli-




                                          Includes copyrighted material of ISO
CSGA 416 04 08                             Properties, Inc., with its permission.                     Page 1 of 1
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 72 of 88


                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                       CSGA 418 06 08

    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AMENDMENT OF POLLUTANTS DEFINITION
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Paragraph 15. of the DEFINITIONS Section is replaced by the following:
15. "Pollutants" mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor,
    soot, fumes, acids, alkalis, chemicals, petroleum, petroleum products and petroleum by-products, and
    waste. Waste includes materials to be recycled, reconditioned or reclaimed. "Pollutants" include but are
    not limited to, that which has been recognized in industry or government to be harmful or toxic to persons,
    property or the environment, regardless of whether the injury, damage, or contamination is caused directly
    or indirectly by the "pollutants" and regardless of whether:
    a.   The insured is regularly or otherwise engaged in activities which taint or degrade the environment; or
    b.   The insured uses, generates or produces the "pollutant".




                                       Includes copyrighted material of ISO
CSGA 418 06 08                          Properties, Inc., with its permission.                     Page 1 of 1
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 73 of 88


                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                           CSGA 361 06 08


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          EXCLUSION - FUNGI OR BACTERIA
This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   The following exclusion is added to Paragraph                      c.    Any liability, with respect to "fungi" or
     2. Exclusions of Section I - Coverage A -                                bacteria, arising out of, resulting
     Bodily Injury And Property Damage Liabil-                                from, caused by, contributed to, or in
     ity and Paragraph 2. Exclusions of Section I                             any way related to any supervision,
     - Coverage B - Personal And Advertising                                  instruction, recommendation, warning
     Injury Liability:                                                        or advice given or which should have
                                                                              been given in connection with:
     2.   Exclusions
                                                                              (1) The existence of "fungi" or bac-
          This insurance does not apply to:                                       teria;
          Fungi or Bacteria                                                   (2) The prevention of "fungi" or bac-
          a.   "Bodily injury", "property damage" or                              teria;
               "personal and advertising iriury"                              (3) The remediation of "fungi" or
               caused directly or indirectly, in whole                            bacteria;
               or in part, by any actual, alleged or
               threatened:                                                    (4) Any operation described            in
                                                                                  Paragraph A. 2. b. above;
               (1) Inhalation of;
                                                                              (5) "Your product"; or
               (2) Ingestion of;
                                                                              (6) "Yourwork"; or
               (3) Contact with;
                                                                        d.    Any obligation to share damages with
               (4) Absorption of;                                             or repay any person, organization or
               (5) Exposure to;                                               entity, related in any way to the liabil-
                                                                              ity excluded in Paragraphs A. 2. a., b.
               (6) Existence of; or                                           or c. above;
               (7) Presence of,                                         regardless of any other cause, event, ma-
                                                                        terial, product and/ or building component
               any "fungi" or bacteria on or within a                   that contributed concurrently or in any se-
               building or structure, including its                     quence to the injury or damage.
               contents, whether occurring suddenly
               or gradually;                                            However this exclusion does not apply to
                                                                        any "fungi" or bacteria that are, are on, or
          b. Any loss, cost or expense associated                       are contained in, a good or product in-
               in any way with, or arising out of the                   tended for human ingestion.
               abating, testing for, monitoring,
               cleaning up, removing, containing,              C.   For the purposes of this endorsement, SEC-
               treating, detoxifying, neutralizing,                 TION V - DEFINITIONS is amended to include
               remediating, mitigating or disposing                 the following:
               of, or in any way responding to, in-
               vestigating, or assessing the effects                "Fungi" means any type or form of fungus, and
               of, "fungi" or bacteria, by any insured              includes, but is not limited to, any form or type
               or by any other person or entity;                    of mold, mushroom or mildew and any my-
                                                                    cotoxins, spores, scents or byproducts pro-
                                                                    duced or released by fungi.




                                         Includes copyrighted material of ISO
CSGA 361 06 08                            Properties, Inc., with its permission.                          Page 1 of 1
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 74 of 88


                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                          CSGA 439 11 08


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                AMENDMENT OF DUTIES IN THE EVENT OF
            OCCURRENCE, OFFENSE, CLAIM OR SUIT CONDITION

This endorsement modifies insurance provided under the following:


     COMMERICAL GENERAL LIABILITY COVERAGE FORM


The following is added to Paragraph 2., Duties In The Event Of Occurrence, Offense, Claim Or Suit of
Section IV - COMMERCIAL GENERAL LIABILITY CONDITIONS:
e.   No insured will admit to any liability, consent to any judgment, or settle any claim or "suit" without our prior
     written consent.




                                         Includes copyrighted material of ISO
CSGA 439 11 08                            Properties, Inc., with its permission.                       Page 1 of 1      D
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 75 of 88


                                                                      COMMERCIAL GENERAL LIABILITY
                                                                                     CG 0142 0711


    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  ARKANSAS CHANGES
This endorsement modifies insurance provided under the following:


    COMMERCIAL GENERAL LIABILITY COVERAGE PART


Pursuant to Arkansas Code Section 23-79-155:            8. The definition of "ocrurrence" required by this
                                                             section of Arkansas law does not serve to limit
A. The definition of "ocrurrence" includes faulty            or restrict the applicability of any exdusion for
    workmanship; and                                         ''bodily injury" or "property damage" under this
                                                             Coverage Part.




CG 0142 0711                        © Insurance Services Office, Inc., 2011                      Page 1 of1   •
          Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 76 of 88




                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21471207

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily             Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                     sonal And Advertising Injury Liability:
   This insurance does not apply to:                         This insurance does not apply to:
   "Bodily injury" to:                                       "Personal and advertising injury" to:
  (1) A person arising out of any:                          (1) A person arising out of any:
     (a) Refusal to employ that person;                         (a) Refusal to employ that person;
     (b) Termination of that person's employment;               (b) Termination of that person's employment;
         or                                                         or
     (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
         acts or omissions, such as coercion, demo-                 acts or omissions, such as coercion, demo-
         tion, evaluation, reassignment, discipline,                tion, evaluation, reassignment, discipline,
         defamation, harassment, humiliation, dis-                  defamation, harassment, humiliation, dis-
         crimination or malicious prosecution di-                   crimination or malicious prosecution di-
         rected at that person; or                                  rected at that person; or
  (2) The spouse, child, parent, brother or sister of       (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"           that person as a consequence of "personal and
      to that person at whom any of the employment-             advertising injury" to that person at whom any
      related practices described in Paragraphs (a),            of the employment-related practices described
      (b), or (c) above is directed.                            in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                   This exclusion applies:
  (1) Whether the injury-causing event described in         (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before            Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                employment, during employment or after em-
      ployment of that person;                                  ployment of that person;
  (2) Whether the insured may be liable as an em-           (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                      ployer or in any other capacity; and
  (3) To any obligation to share damages with or             (3) To any obligation to share damages with or
      repay someone else who must pay damages                    repay someone else who must pay damages
      because of the injury.                                     because of the injury.




CG 21471207                               © ISO Properties, Inc., 2006                               Page 1 of 1    •
          Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 77 of 88



                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21490999

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        TOTAL POLLUTION EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2., Exclusions of Sec-          (2) Any loss, cost or expense arising out of any:
tion I - Coverage A - Bodily Injury And Property                (a) Request, demand, order or statutory or
Damage Liability is replaced by the following:                      regulatory requirement that any insured or
This insurance does not apply to:                                   others test for, monitor, clean up, remove,
f. Pollution                                                        contain, treat, detoxify or neutralize, or in
                                                                    any way respond to, or assess the effects
  (1) "Bodily injury" or "property damage" which                    of "pollutants"; or
      would not have occurred in whole or part but
      for the actual, alleged or threatened discharge,          (b) Claim or suit by or on behalf of a govern-
      dispersal, seepage, migration, release or es-                 mental authority for damages because of
      cape of "pollutants" at any time.                             testing for, monitoring, cleaning up, remov-
                                                                    ing, containing, treating, detoxifying or neu-
                                                                    tralizing, or in any way responding to, or
                                                                    assessing the effects of, "pollutants".




CG 2149 09 99                   Copyright, Insurance Services Office, Inc., 1998                     Page 1 of 1     •
          Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 78 of 88



                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21960305

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
      This insurance does not apply to:                             This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertising injury" arising, in
          of the actual, alleged, threatened or sus-                    whole or in part, out of the actual, alleged,
          pected inhalation of, or ingestion of, "silica"               threatened or suspected inhalation of, in-
          or "silica-related dust".                                     gestion of, contact with, exposure to, exis-
      b. "Property damage" arising, in whole or in                      tence of, or presence of, "silica" or "silica-
         part, out of the actual, alleged, threatened                   related dust".
         or suspected contact with, exposure to, ex-                b. Any loss, cost or expense arising, in whole
         istence of, or presence of, "silica" or "silica-              or in part, out of the abating, testing for,
         related dust".                                                monitoring, cleaning up, removing, contain-
      c. Any loss, cost or expense arising, in whole                   ing, treating, detoxifying, neutralizing, reme-
         or in part, out of the abating, testing for,                  diating or disposing of, or in any way re-
         monitoring, cleaning up, removing, contain-                   sponding to or assessing the effects of,
         ing, treating, detoxifying, neutralizing, reme-               "silica" or "silica-related dust", by any in-
         diating or disposing of, or in any way re-                    sured or by any other person or entity.
         sponding to or assessing the effects of,            C. The following definitions are added to the Defini-
         "silica" or "silica-related dust", by any in-          tions Section:
         sured or by any other person or entity.                 1. "Silica" means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), sil-
                                                                    ica particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust" means a mixture or combi-
                                                                    nation of silica and other dust or particles.




CG 21960305                                  © ISO Properties, Inc., 2004                                 Page 1 of 1    D
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 79 of 88


                                                                           COMMERCIAL GENERAL LIABLITY
                                                                                         CSGA 301 03 16

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       EXCLUSION - ASSAULT OR BATTERY
This endorsement modifies insurance provided under the following:


     COMMERCIAL GENERAL LIABILITY COVERAGE FORM


A.   The following exdusion is added to Paragraph                5.   The negligent investigation or reporting or
     2., Exclusions of Section I - Coverage A -                       failure to report any assault or battery to
      Bodily Injury And Property Damage Liabil-                       proper authorities; or
      ity and Paragraph 2., Exclusions of Section I
      - Coverage B - Personal And Advertising In-                6.   The negligent:
     jury Liability:                                                  a.   Employment;
     Assault Or Battery                                               b.   Supervision;
     This insurance does not apply to 'bodily inju-                   c.   Training;
     ry'', "property damage" or "personal and adver-
     tising injury'' arising out of:                                  d.   Retention;
     1.   An adual or threatened assault or battery                   of a person for whom any insured is or
          whether caused by or at the instigation or                  ever was legally responsible and whose
          direction of any insured, their employees,                  conduct would be exduded by the As-
          patrons or any other person;                                sault Or Battery exdusion above.
     2.   The failure of any insured or anyone else         B. For the purpose of this endorsement the words
          for whom any insured is legally responsi-              assault and battery are intended to indude, but
          ble to prevent or suppress assault or bat-             are not limited to, sexual assault.
          tery; or
                                                            C. Exdusion 2.a. of the Commercial General Lia-
     3.   The failure to provide an environment                  bility Coverage Form is deleted in its entirety
          safe from assault or battery, induding but             and replaced by the following:
          not limited to the failure to provide ade-
          quate security, or failure to warn of the              2.   a.   Expected Or Intended Injury
          dangers of the environment that could                            "Bodily injury" or "property damage"
          contribute to assault or battery; or                             expected or intended from the stand-
     4.   The failure to render or secure medical                          point of the insured.
          treatment or care necessitated by any as-
          sault or battery; or




                                       Includes copyrighted material of ISO
CSGA 301 0316                           Properties, Inc, with its permission.
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 80 of 88


                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                       CSGA 358 06 08


    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION - PARTICIPANTS AND CONTESTANTS
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
A. The following exclusion is added to Paragraph 2. Exclusions of Section I - Coverage A - Bodily Injury
   And Property Damage Liability and Paragraph 2. Exclusions of Section I - Coverage B - Personal
   And Advertising Injury Liability:
    This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" to
    any person while practicing, instructing, supervising, officiating, training or participating in any physical
    exercise, game, sport, contest, race, exhibition, demonstration, special event, performance or show.




                                       Includes copyrighted material of ISO
CSGA 358 06 08                          Properties, Inc., with its permission.                      Page 1 of 1
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 81 of 88


                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                     CSGA 3015 0712

    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     EXCLUSION - ANIMAL PARTICIPANTS
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
A. The following exdusion is added to Paragraph 2. Exclusions of Section I - Coverage A - Bodily Injury
   And Property Damage Liability:
    This insurance does not apply to "property damage" to any animal while practicing, training or
    participating in or preparing for any physical exercise, game, sport, contest, race, exhibition,
    demonstration, special event, parade, performance, or show.




                                  Includes copyrighted material of Insurance
CSGA 3015 0712                     Services Office, Inc., with its permission.             Page 1 of 1
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 82 of 88


                             COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A.   Cancellation                                                      b.   Give you reports on the conditions
                                                                            we find; and
     1.   The first Named Insured shown in the
          Declarations may cancel this policy by                       c.   Recommend changes.
          mailing or delivering to us advance writ-
          ten notice of cancellation.                             2.   We are not obligated to make any in-
                                                                       spections, surveys, reports or recom-
     2.   We may cancel this policy by mailing or                      mendations and any such actions we do
          delivering to the first Named Insured                        undertake relate only to insurability and
          written notice of cancellation at least:                     the premiums to be charged. We do not
                                                                       make safety inspections. We do not un-
          a.   10 days before the effective date of                    dertake to perform the duty of any person
               cancellation if we cancel for non-                      or organization to provide for the health
               payment of premium; or                                  or safety of workers or the public. And
          b.   30 days before the effective date of                    we do not warrant that conditions:
               cancellation if we cancel for any                       a.   Are safe or healthful; or
               other reason.
                                                                       b.   Comply with laws, regulations, codes
     3.   We will mail or deliver our notice to the                         or standards.
          first Named lnsured's last mailing address
          known to us.                                            3.   Paragraphs 1. and 2. of this condition
                                                                       apply not only to us, but also to any rat-
     4.   Notice of cancellation will state the effec-                 ing, advisory, rate service or similar or-
          tive date of cancellation. The policy pe-                    ganization which makes insurance in-
          riod will end on that date.                                  spections, surveys, reports or recom-
     5.   If this policy is cancelled, we will send the                mendations.
          first Named Insured any premium refund                  4.   Paragraph 2. of this condition does not
          due. If we cancel, the refund will be pro                    apply to any inspections, surveys, reports
          rata. If the first Named Insured cancels,                    or recommendations we may make rela-
          the refund may be less than pro rata.                        tive to certification, under state or munici-
          The cancellation will be effective even if                   pal statutes, ordinances or regulations, of
          we have not made or offered a refund.                        boilers, pressure vessels or elevators.
     6.   If notice is mailed, proof of mailing will be      E.   Premiums
          sufficient proof of notice.
                                                                  The first Named Insured shown in the Decla-
B.   Changes                                                      rations:
     This policy contains all the agreements be-                  1.   Is responsible for the payment of all pre-
     tween you and us concerning the insurance                         miums; and
     afforded. The first Named Insured shown in
     the Declarations is authorized to make                       2.   Will be the payee for any return premi-
     changes in the terms of this policy with our                      ums we pay.
     consent. This policy's terms can be amended
     or waived only by endorsement issued by us              F.   Transfer of Your Rights and Duties Under
     and made a part of this policy.                              this Policy

C.   Examination of Your Books and Records                        Your rights and duties under this policy may
                                                                  not be transferred without our written consent
     We may examine and audit your books and                      except in the case of death of an individual
     records as they relate to this policy at any                 named insured.
     time during the policy period and up to three
     years afterward.                                             If you die, your rights and duties will be trans-
                                                                  ferred to your legal representative but only
D.   Inspections and Surveys                                      while acting within the scope of duties as your
                                                                  legal representative. Until your legal repre-
     1.   We have the right to:                                   sentative is appointed, anyone having proper
          a.   Make inspections and surveys at any                temporary custody of your property will have
               time;                                              your rights and duties but only with respect to
                                                                  that property.




IL00171198                         Copyright, Insurance Services Office, Inc., 1998
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 83 of 88


                                                                                                   IL 00 2109 08


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   NUCLEAR ENERGY LIABILITY EXCLUSION
                             ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

     COMMERCIAL AUTOMOBILE COVERAGE PART
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     FARM COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
     MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART

1.   The insurance does not apply:                                 C.   Under any Liability Coverage, to "bodily
                                                                        injury" or "property damage" resulting
     A.   Under any Liability Coverage, to "bodily                      from "hazardous properties" of "nuclear
          injury" or "property damage":                                 material", if:
          (1) With respect to which an "insured"                        (1) The "nuclear material" (a) is at any
              under the policy is also an insured                           "nuclear facility" owned by, or oper-
              under a nuclear energy liability policy                       ated by or on behalf of, an "insured"
              issued by Nuclear Energy Liability                            or (b) has been discharged or dis-
              Insurance    Association,        Mutual                       persed therefrom;
              Atomic Energy Liability Underwriters,
              Nuclear Insurance Association of                          (2) The "nuclear material" is contained in
              Canada or any of their successors,                            "spent fuel" or "waste" at any time
              or would be an insured under any                              possessed, handled, used, proc-
              such policy but for its termination                           essed, stored, transported or dis-
              upon exhaustion of its limit of liability;                    posed of, by or on behalf of an "in-
              or                                                            sured"; or
          (2) Resulting from the "hazardous prop-                       (3) The "bodily injury" or "property dam-
              erties" of "nuclear material" and with                        age" arises out of the furnishing by
              respect to which (a) any person or                            an "insured" of services, materials,
              organization is required to maintain                          parts or equipment in connection
              financial protection pursuant to the                          with the planning, construction,
              Atomic Energy Act of 1954, or any                             maintenance, operation or use of
              law amendatory thereof, or (b) the                            any "nuclear facility", but if such fa-
              "insured" is, or had this policy not                          cility is located within the United
              been issued would be, entitled to in-                         States of America, its territories or
              demnity from the United States of                             possessions or Canada, this exclu-
              America, or any agency thereof, un-                           sion (3) applies only to "property
              der any agreement entered into by                             damage" to such "nuclear facility"
              the United States of America, or any                          and any property thereat.
              agency thereof, with any person or
              organization.                                   2.   As used in this endorsement:

     8.   Under any Medical Payments coverage,                     "Hazardous properties" includes radioactive,
          to expenses incurred with respect to                     toxic or explosive properties;
          "bodily injury" resulting from the "hazard-              "Nuclear material" means "source material",
          ous properties" of "nuclear material" and                "special nuclear material" or "by-product ma-
          arising out of the operation of a "nuclear               terial";
          facility" by any person or organization.


IL 00 210908                                  © ISO Properties, Inc., 2007                           Page 1 of2       D
           Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 84 of 88


   "Source material", "special nuclear material",                 (c) Any equipment or device used for
   and "by-product material° have the meanings                        the processing, fabricating or alloy-
   given them in the Atomic Energy Act of 1954                        ing of "special nuclear material" if at
   or in any law amendatory thereof;                                  any time the total amount of such
                                                                      material in the custody of the "in-
   "Spent fuel" means any fuel element or fuel                        sured" at the premises where such
   component, solid or liquid, which has been                         equipment or device is located con-
   used or exposed to radiation in a "nuclear re-                     sists of or contains more than 25
   actor";                                                            grams of plutonium or uranium 233
   "Waste" means any waste material (a) con-                          or any combination thereof, or more
   taining "by-product material" other than the                       than 250 grams of uranium 235;
   tailings or wastes produced by the extraction                  (d) Any structure, basin, excavation,
   or concentration of uranium or thorium from                        premises or place prepared or used
   any ore processed primarily for its "source                        for the storage or disposal of
   material" content, and (b) resulting from the                      "waste";
   operation by any person or organization of
   any "nuclear facility" included under the first           and includes the site on which any of the
   two paragraphs of the definition of "nuclear              foregoing is located, all operations conducted
   facility'.                                                on such site and all premises used for such
                                                             operations;
   "Nuclear facility" means:
                                                             "Nuclear reactor" means any apparatus de-
       (a) Any "nuclear reactor";                            signed or used to sustain nuclear fission in a
       (b) Any equipment or device designed                  self-supporting chain reaction or to contain a
           or used for (1) separating the iso-               critical mass of fissionable material;
           topes of uranium or plutonium, (2)                'Property damage" includes all forms of ra-
           processing or utilizing "spent fuel", or          dioactive contamination of property.
           (3) handling, processing or packag-
           ing "waste";




IL 00 210908                             © ISO Properties, Inc., 2007                           Page 2 of 2     D
    Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 85 of 88


                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CSLL 348 01 08

    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       LIMITATION - NO STACKING OF LIMITS OF INSURANCE
This endorsement modifies insurance provided under the following:
    ALL COVERAGE FORMS OR COVERAGE PARTS PROVIDING LIABILITY COVERAGE
The Conditions are amended to add the following:
If two or more liability coverage forms, coverage parts or policies issued to you by us or any company affiliated
with us apply to the same claim for damages, the maximum Limits of Insurance shall not exceed the highest
applicable Limits of Insurance available under any one coverage form, coverage part or policy.
This endorsement does not apply to any coverage form, coverage part or policy issued by us or an affiliated
company specifically to apply as excess insurance over this policy.




                                       Includes copyrighted material of ISO
CSLL 348 01 08                          Properties, Inc., with its permission.                      Page 1 of 1
     Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 86 of 88


                                                                           IL 00 03 09 08


    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

    CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
    COMMERCIAL AUTOMOBILE COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
    EQUIPMENT BREAKDOWN COVERAGE PART
    FARM COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or an-
niversary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                              © ISO Properties, Inc., 2007     Page 1 of 1    D
         Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 87 of 88



   THIS ENDORSEMENT CHANGES THE ENTIRE POLICY. PLEASE READ IT CAREFULLY.


      LIMITATION OF COVERAGE TO DESIGNATED PREMISES
       This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART

   A. The following language is added to Paragraph 1. a. Insuring Agreement of SECTION I -
      COVERAGES, COVERAGE A - BODILY INJURY AND PROPERTY DAMAGE LIABILITY:
       It is agreed and understood that this insurance applies only to "bodily injury" or "property
       damage" that occurs at the premises designated in the CSGA403 Commercial General
       Liability Premises Schedule.
   This insurance does not apply to "bodily injury" or "property damage" that occurs at any loca-
   tion that is not designated in the CSGA403 Commercial General Liability Premises Liability
   Schedule.


   B. The following language is added to Paragraph 1. a. Insuring Agreement of SECTION I -
      COVERAGES, COVERAGE B - PERSONAL AND ADVERTISING INJURY LIABILITY:
      It is agreed and understood that this insurance applies only to "personal and advertising in-
      jury" arising out of the ownership, maintenance or use of the premises designated in the
      CSGA403 Commercial General Liability Premises Schedule.


   C. The final paragraph of Section II- Who Is An Insured is deleted and replaced by the fol-
      lowing:
       No person or organization is an insured:
       1. With respect to the conduct of any current or past partnership, joint venture or limited
          liability company that is not shown as a named Insured in the Declaration; or
       2. For any operations or "your work" that occurs at any location that is not designated in
          the CSGA403 Commercial General Liability Premises Schedule.




                                  Includes copyrighted material of Insurance
CSIA405(08/09)-A-                   Services Office, Inc., with its permission               Page 1 of 1
                         Case 4:19-cv-00586-BRW Document 1 Filed 08/20/19 Page 88 of 88


Jane Watson

From:                                    Adam Franks
Sent:                                    Tuesday, August 20, 2019 10:26 AM
To:                                      Jane Watson
Cc:                                      Scott Strauss
Subject:                                 FW: Certified Policy request- CSU 0108088 - CMS#3228515


Jane,

I have a dee action that needs to be filed in the Eastern District of Arkansas. Complaint, corporate disclosure, and
summons are ready to go. I want to use Jared Tramel for service. (479) 747-0902; tramelsolutions@gmail.com

F:\Cincinnati Ins Co- 3966 - Cincinnati, OH\Cincinnati Re Holland Trust 3966.190205

Thanks,

Adam

ADAM D. FRANKS
ATTORNEY AT LAW

BARBER LAW FIRM PLLC
425 West Capitol Ave.
Suite 3400
Little Rock, Arkansas 72201

Direct I (501) 707-6147
Company I (501) 372-6175
Facsimile I (501) 375-2802

www.barberlawfirm.com


From: Bugher, Sheri [mailto:Sheri_Bugher@CINFIN.com]
Sent: Monday, August 19, 2019 10:35 AM
To: Adam Franks
Cc: Scott Strauss
Subject: RE: Certified Policy request - CSU 0108088 - CMS#3228515

I have reviewed and all appears fine.

Thanks.

Sheri Bugher, AIC
Associate Manager, CSU Claims
The Cincinnati Specialty Underwriters Insurance Company
P .0. Box 145496
Cincinnati, Ohio 45250
(513)870-2902
(513)371-7110 Fax

Confidentiality notice: The information included in this e-mail, including any attachments, is for the sole use of the intended recipient and may contain information that is
confidential and protected. Any unauthorized review, use, disclosure, distribution or similar action is prohibited. If you are not the intended recipient, please contact the sender
and delete all copies of the original message immediately.




                                                                                         1
